        Case 1:13-cv-03127-PKC        Document 1      Filed 05/09/13      Page 1 of 72




                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

RICK HARRISON, JOHN BUCKLEY III,
MARGARET LOPEZ, ANDY LOPEZ,
                                                    13 CV 3127
                                                     Case No.
KEITH LORENSEN, LISA LORENSEN,
EDWARD LOVE, ROBERT
MCTUREOUS, DAVID MORALES,                            NOTICE OF PENDING ACTION               -




GINA MORRIS, MARTIN SONGER, JR.,                     28 U.S.C. 1605A(g) LISPENDENS
SHELLY SONGER, JEREMY STEWART,
KESHA STIDHAM, AARON TONEY,
ERIC WILLIAMS, CARL WINGATE, AND
TRACEY SMITH, as Personal
Representative of the Estate of Rubin Smith,

              Plaintiffs,

       V.


THE REPUBLIC OF SUDAN,

              Defendant.



                                           Edward H. Rosenthal, Esq.
                                           Beth I. Goldman, Esq.
                                           FRANKFURT KURNIT KLEIN & SELZ, P.C.
                                           488 Madison Avenue, 10t1
                                                                     Floor
                                           New York, New York 10022
                                           Tel.: (212) 980-0120
                                           Fax: (212) 593-9175

                                           Andrew C. Hall, Esq.*
                                           Roarke Maxwell, Esq.*
                                           HALL, LAMB AND HALL P.A.
                                           2665 South Bayshore Drive, PHI
                                           Miami, Florida 33133
                                           Tel.: (305) 374-5030
                                           Fax: (305) 374-5033
                                           * admitted pro hac vice



                                           Attorneys for Plaintffs, Rick Harrison, et al.
         Case 1:13-cv-03127-PKC          Document 1      Filed 05/09/13     Page 2 of 72




         PURSUANT TO 28 U.S.C. § 1605A(g), NOTICE IS HEREBY GIVEN that on March

30, 2012, Plaintiffs (1) Rick Harrison; (2) John Buckley; (3) Margaret Lopez; (4) Andy Lopez;

(5) Keith Lorensen; (6) Lisa Lorensen; (7) Edward Love; (8) Robert McTureous; (9) David

Morales; (10) Gina Morris; (11) Tracey Smith as the Personal Representative of the Estate of

Rubin Smith; (12) Martin Songer, Jr.; (13) Shelly Songer; (14) Jeremy Stewart; (15) Kesha

Stidham; (16) Aaron Toney; (17) Eric Williams; and (18) Carl Wingate obtained a judgment in

the aggregate amount of $314,705,896.00 (the “Judgment”) against the Republic of Sudan in the

United States District Court for the District of Columbia, Case No. 1:1 0-cv-0 1689 (RCL).

         Pursuant to 18 U.S.C. 1 605A(g), the Plaintiffs hereby provide notice of the Judgment,

which affects all property located in this judicial district owned by the Defendant, Republic of

Sudan, and of the following controlled entities:

    1.          REPUBLIC OF SUDAN (a.k.a. SUDAN);

   2.           ACCOUNTS & ELECTRONICS EQUIPMENTS (a.k.a. ACCOUNTS AND
                ELECTRONICS EQUIPMENTS);

   3.           ACCOUNTS AND ELECTRONICS EQUIPMENTS (a.k.a. ACCOUNTS &
                ELECTRONICS EQUIPMENTS);

   4.           ADVANCED CHEMICAL WORKS (a.k.a. ADVANCED COMMERCIAL AND
                CHEMICAL WORKS COMPANY LIMITED; a.k.a. ADVANCED TRADNG
                AND CHEMICAL WORKS COMPANY LIMITED);

   5.           ADVANCED COMMERCIAL AND CHEMICAL WORKS COMPANY
                LIMITED (a.k.a. ADVANCED CHEMICAL WORKS; a.k.a. ADVANCED
                TRADING AND CHEMICAL WORKS COMPANY LIMITED);

    6.          ADVANCED ENGINEERING WORKS;

   7.           ADVANCED MINING WORKS COMPANY LIMITED;

    8.          ADVANCED PETROLEUM COMPANY (a.k.a. APCO);

    9.          ADVANCED TRADING AND CHEMICAL WORKS COMPANY LIMITED


                                                   2
      Case 1:13-cv-03127-PKC   Document 1    Filed 05/09/13    Page 3 of 72




          (a.k.a. ADVANCED CHEMICAL
10.       WORKS; a.k.a. ADVANCED COMMERCIAL AND CHEMICAL WORKS
          COMPANY LIMITED);

11.       AFRICAN DRILLING COMPANY;

12.       AFRICAN OIL CORPORATION;

13.       AGRICULTURAL BANK OF SUDAN;

14.       AL PHARAKIM (a.k.a. ALFARACHEM COMPANY LIMITED;                       a.k.a.
          ALFARACHEM
15.       PHARMACEUTICALS INDUSTRIES LIMITED; a.k.a. ALFARAKIM);

16.        AL   SUNUT   DEVELOPMENT           COMPANY         (a.k.a.        ALSUNUT
           DEVELOPMENT COMPANY);

17.        ALAKTAN COTTON TRADING COMPANY (a.k.a. ALAKTAN TRADING
           COMPANY);

18.       ALAKTAN TRADING COMPANY (a.k.a. ALAKTAN COTTON TRADING
          COMPANY);

19.        ALFARACHEM COMPANY LIMITED (a.k.a. AL PHARAKIM; a.k.a.
           ALFARACHEM
20.        PHARMACEUTICALS INDUSTRIES LIMITED; a.k.a. ALFARAKIM);

21.        ALFARACHEM PHARMACEUTICALS INDUSTRIES LIMITED (a.k.a. AL
           PHARAKIM; a.k.a. ALFARACHEM COMPANY LIMITED; a.k.a.
           ALFARAKIM);

22.        ALFARAKIM (a.k.a. AL PHARAKIM; a.k.a. ALFARACHEM COMPANY
           LIMITED; a.k.a. ALFARACHEM PHARMACEUTICALS INDUSTRIES
           LIMITED);

23.        ALSUNUT   DEVELOPMENT            COMPANY      (a.k.a.        AL     SUNUT
           DEVELOPMENT COMPANY);

24.        AMIN EL GEZAI COMPANY (a.k.a. EL AMIN EL GEZAI COMPANY);

25.        APCO (a.k.a. ADVANCED PETROLEUM COMPANY);

26.        ARAB CEMENT COMPANY;

27.        ARAB SUDANESE BLUE NILE AGRICULTURAL COMPANY;



                                     3
          Case 1:13-cv-03127-PKC              Document 1         Filed 05/09/13         Page 4 of 72




    28.          ARAB SUDANESE SEED COMPANY;

    29.          ARAB SUDANESE VEGETABLE OIL COMPANY;

    30.          ASSALAYA SUGAR COMPANY LIMITED;

    31.          ATBARA CEMENT COMPANY LIMITED;

    32.          AUTOMOBILE CORPORATION;

    33.          BABANOUSA MILK PRODUCTS FACTORY;

    34.          BANK OF KHARTOUM;’

    35.          BANKOF SUDAN;

    36.          BASHAIER;

    37.          BLUE NILE BREWERY;

    38.          BLUE NILE PACKING CORPORATION;

    39.          BUILDING MATERIALS AND REFRACTORIES CORPORATION;

    40.          CENTRAL BUREAU OF STATISTICS OF THE REPUBLIC OF SUDAN;

   41.           CENTRAL ELECTRICITY AND WATER CORPORATION (a.k.a. PUBLIC
                 ELECTRICITY AND WATER CORPORATION);

   42.           COPTRADE COMPANY LIMITED PHARMACEUTICAL AND CHEMICAL
                                                             -




                 DIVISION;

    43.          COPTRADE ENG AND AUTOMOBILE                              SERVICES CO LTD.             (f.k.a.
                 KORDOFAN AUTOMOBILE COMPANY);

    44.          DUTY FREE SHOPS CORPORATION;

    45.          EL AMIN EL GEZAI COMPANY (a.k.a. AMIN EL GEZAI COMPANY);

    46.          EL GEZIRA AUTOMOBILE COMPANY (a.k.a. GEZIRA AUTOMOBILE
                 COMPANY);

    47.          EL NILEEN BANK (n.k.a. EL NILEIN INDUSTRIAL DEVELOPMENT BANK
                 (SUDAN); n.k.a. EL NILE]N INDUSTRIAL DEVELOPMENT BANK GROUP;
                 n.k.a. NILEIN INDUSTRIAL DEVELOPMENT BANK (SUDAN));

‘As to property of the Bank of Khartoum that was frozen or blocked prior to May 2011.

                                                       4
      Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13    Page 5 of 72




48.       EL NILEIN INDUSTRIAL DEVELOPMENT BANK (SUDAN) (a.k.a. EL
          NILEIN BANK; n.k.a. EL NILEIN INDUSTRIAL DEVELOPMENT BANK
          GROUP; n.k.a. NILEIN INDUSTRIAL DEVELOPMENT BANK (SUDAN));

49.       EL NILEIN INDUSTRIAL DEVELOPMENT BANK GROUP (a.k.a. EL
          NILEIN BANK; n.k.a. EL NILEIN INDUSTRIAL DEVELOPMENT BANK
          (SUDAN); n.k.a. NILEIN INDUSTRIAL DEVELOPMENT BANK (SUDAN));

50.        EL NILEIN INDUSTRIAL DEVELOPMENT                BANK   GROUP      (a.k.a.
           INDUSTRIAL BANK OF SUDAN);

51.        EL TAKA AUTOMOBILE        COMPANY     (a.k.a.   TAKA AUTOMOBILE
           COMPANY);

52.        EMIRATES AND SUDAN INVESTMENT COMPANY LIMITED;

53.        ENGINEERING EQUIPMENT COMPANY;

54.        ENGINEERING EQUIPMENT CORPORATION;

55.        EXPLORATION AND PRODUCTION AUTHORITY (SUDAN);

56.        FARMERS BANK FOR INVESTMENT & RURAL DEVELOPMENT (a.k.a.
           FARMERS BANK FOR INVESTMENT AND RURAL DEVELOPMENT; a.k.a.
           FARMERS COMMERCIAL BANK; f.k.a. SUDAN COMMERCIAL BANK);

57.        FARMERS BANK FOR INVESTMENT AND RURAL DEVELOPMENT (f.k.a.
           FARMERS BANK FOR INVESTMENT & RURAL DEVELOPMENT; a.k.a.
           FARMERS COMMERCIAL BANK; f.k.a. SUDAN COMMERCIAL BANK);

58.        FARMERS COMMERCIAL BANK (f.k.a. FARMERS BANK FOR
           INVESTMENT & RURAL DEVELOPMENT; a.k.a. FARMERS BANK FOR
           INVESTMENT   AND   RURAL  DEVELOPMENT;      f.k.a. SUDAN
           COMMERCIAL BANK);

59.        FOOD INDUSTRIES CORPORATION;

60.        FORESTS NATIONAL CORPORATION;

61.        FRIENDSHIP SPINNING FACTORY;

62.        GEZIRA AUTOMOBILE COMPANY (a.k.a. EL GEZIRA AUTOMOBILE
           COMPANY);

63.        GEZIRA SCHEME (a.k.a. SUDAN GEZIRA BOARD);


                                     5
      Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13   Page 6 of 72




64.        GEZIRA TANNERY;

65.        GEZIRA TRADE & SERVICES COMPANY LIMITED (a.k.a. GEZIRA
           TRADE AND SERVICES COMPANY LIMITED;

66.        GEZIRA TRADE AND SERVICES COMPANY LIMITED (a.k.a. GEZIRA
           TRADE & SERVICES COMPANY LIMITED);

67.        GlAD AUTOMOTIVE AND TRUCK (a.k.a. GlAD AUTOMOTIVE
           COMPANY; a.k.a. GlAD
68.        AUTOMOTIVE INDUSTRY COMPANY LIMITED; a.k.a. GlAD CARS &
           HEAVY TRUCKS COMPANY; a.k.a. GlAD CARS AND HEAVY TRUCKS
           COMPANY);

69.        GlAD AUTOMOTIVE COMPANY (a.k.a. GlAD AUTOMOTIVE AND
           TRUCK; a.k.a GlAD AUTO; a.k.a GlAD AUTOMOTIVE; a.k.a. GlAD
           AUTOMOTIVE INDUSTRY COMPANY LIMITED; a.k.a. GlAD CARS &
           HEAVY TRUCKS COMPANY; a.k.a. GlAD CARS AND HEAVY TRUCKS
           COMPANY);

70.        GlAD AUTOMOTIVE INDUSTRY COMPANY LIMITED (a.k.a. GlAD
           AUTOMOTIVE AND TRUCK; a.k.a. GlAD AUTOMOTIVE COMPANY; a.k.a.
           GlAD CARS & HEAVY TRUCKS COMPANY; a.k.a. GlAD CARS AND
           HEAVY TRUCKS COMPANY);

71.        GlAD CARS & HEAVY TRUCKS COMPANY (a.k.a. GlAD AUTOMOTIVE
           AND TRUCK; a.k.a. GlAD AUTOMOTIVE COMPANY; a.k.a. GlAD
           AUTOMOTIVE INDUSTRY COMPANY LIMITED; a.k.a. GlAD CARS AND
           HEAVY TRUCKS COMPANY);

72.        GlAD CARS AND HEAVY TRUCKS COMPANY (a.k.a. GlAD
           AUTOMOTIVE AND TRUCK; a.k.a. GlAD AUTOMOTIVE COMPANY; a.k.a.
           GlAD AUTOMOTIVE INDUSTRY COMPANY LIMITED; a.k.a. GlAD CARS
           & HEAVY TRUCKS COMPANY);

73.        GlAD INDUSTRIAL CITY (a.k.a. GlAD INDUSTRIAL GROUP; a.k.a.
           SUDAN MASTER TECH; a.k.a. SUDAN MASTER TECHISIOLOGY);

74.        GlAD INDUSTRIAL GROUP (a.k.a. GlAD INDUSTRIAL CITY; a.k.a.
           SUDAN MASTER TECH; a.k.a. SUDAN MASTER TECHNOLOGY);

75.        GlAD MOTOR COMPANY (a.k.a. GlAD MOTOR INDUSTRY COMPANY
           LIMITED);

76.        GlAD MOTOR INDUSTRY COMPANY LIMITED (a.k.a. GlAD MOTOR


                                     6
      Case 1:13-cv-03127-PKC   Document 1    Filed 05/09/13      Page 7 of 72




           COMPANY);

77.        GINEID SUGAR FACTORY;

78.        GNPOC (a.k.a. GREATER NILE PETROLEUM OPERATING COMPANY
           LIMITED);

79.        GREATER NILE PETROLEUM OPERATING COMPANY LIMITED (a.k.a.
           GNPOC);

80.        GROUPED INDUSTRIES CORPORATION;

81.        GUM ARABIC COMPANY LTD. (a.k.a. GUM ARABIC COMPANY; a.k.a.
           GAC);

82.        GUNEID SUGAR        COMPANY      LIMITED   (a.k.a.    GUNEID     SUGAR
           FACTORY);

83.        GUNEID SUGAR        FACTORY   (a.k.a.   GUNEID       SUGAR   COMPANY
           LIMITED);

84.        HAGGAR ASSALAYA SUGAR FACTORY;

85.        HI TECH GROUP (a.k.a. HIGH TECH GROUP; a.k.a. HIGHTECH GROUP;
           a.k.a. HITECH GROUP);

86.        HICOM (a.k.a. HI-COM);

87.        HI-COM (a.k.a. HICOM);

88.        HICONSULT (a.k.a. HI-CONSULT);

89.        HI-CONSULT (a.k.a. HICONSULT);

90.        HIGH TECH GROUP (a.k.a. HI TECH GROUP; a.k.a. HIGHTECH GROUP;
           a.k.a. HITECH GROUP);

91.        HIGHTECH GROUP (a.k.a. HI TECH GROUP; a.k.a. HIGH TECH GROUP;
           a.k.a. HITECH GROUP);

92.        HI-TECH CHEMICALS;

93.        HITECH GROUP (a.k.a. HI TECH GROUP; a.k.a. HIGH TECH GROUP; a.k.a.
           HIGHTECH GROUP);

94.        HI-TECH PETROLEUM GROUP;


                                     7
       Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13   Page 8 of 72




95.        ICDB (a.k.a. ISLAMIC CO-OPERATIVE DEVELOPMENT BANK);

96.        INDUSTRIAL BANK COMPANY FOR TRADE & DEVELOPMENT
           LIMITED (a.k.a. INDUSTRIAL BANK COMPANY FOR TRADE &
           DEVELOPMENT LIMITED);

97.        INDUSTRIAL BANK COMPANY FOR TRADE & DEVELOPMENT
           LIMITED (a.k.a. INDUSTRIAL BANK COMPANY FOR TRADE &
           DEVELOPMENT LIMITED);

98.        INDUSTRIAL BANK OF SUDAN          (n.k.a.   EL NILEIN   INDUSTRIAL
           DEVELOPMENT BANK GROUP);

99.        INDUSTRIAL PRODUCTION CORPORATION;

100.       INDUSTRIAL RESEARCH AND CONSULTANCY INSTITUTE;

101.       INGASSANA MINES HILLS CORPORATION (a.k.a. INGESSANA HILLS
           MINES CORPORATION);

102.       INGESSANA HILLS MINES CORPORATION (a.k.a. INGASSANA MINES
           HILLS CORPORATION);

103.        ISLAMIC CO-OPERATIVE DEVELOPMENT BANK (a.k.a. ICDB);

104.       JUBA DUTY FREE SHOP;

105.        KARIMA DATE FACTORY;

106.        KARIMA FRUIT AND VEGETABLE CANNING FACTORY;

107.        KASSALA FRUIT PROCESSING COMPANY;

108.        KASSALA ONION DEHYDRATION FACTORY;

109.        KENAF SOCKS FACTORY;

110.        KENANA SUGAR COMPANY LTD.;

111.        KENANA ENGINEERING AND TECHNICAL SERVICES;

112.        KENANA INTEGRATED AGRICULTURAL SOLUTIONS;

113.        KENANA FRIESLAND DAIRY;



                                      8
       Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13   Page 9 of 72




114.        KHARTOUM CENTRAL FOUNDRY;

115.       KHARTOUM COMMERCIAL AND SHIPPING COMPANY LIMITED;

116.        KHARTOUM GUM ARABIC PROCESSING COMPANY;

117.       KHARTOUM REFINERY COMPANY LTD.;

118.        KHARTOUM TANNERY;

119.        KHOR OMER ENGINEERING COMPANY;

120.        KORDOFAN AUTOMOBILE COMPANY (a.k.a. COPTRADE ENG AND
            AUTOMOBILE SERVICES CO LTD.);

121.        KORDOFAN COMPANY;

122.        KRIKAH INDUSTRIES GROUP;

123.        LEATHER INDUSTRIES CORPORATION (a.k.a. LEATHER INDUSTRIES
            TANNERIES);

124.        LEATHER INDUSTRIES TANNERIES (a.k.a. LEATHER INDUSTRIES
            CORPORATION);

125.        MALUT SUGAR FACTORY;

126.        MANGALA SUGAR FACTORY;

127.        MASPIO CEMENT CORPORATION;

128.        MAY ENGINEERING COMPANY;

129.        MILITARY COMMERCIAL CORPORATION;

130.        MINISTRY OF AGRICULTURE AND IRRIGATION OF THE REPUBLIC OF
            SUDAN;

131.        MINISTRY OF ANIMAL AND FISHERY RESOURCES AND PASTURES OF
            THE REPUBLIC OF SUDAN;

132.        MINISTRY OF COMMERCE OF THE REPUBLIC OF SUDAN;

133.        MINISTRY OF CULTURE AND INFORMATION OF THE REPUBLIC OF
            SUDAN;



                                      9
       Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13   Page 10 of 72




134.        MINISTRY OF ELECTRICITY & WATER RESOURCES OF THE REPUBLIC
            OF SUDAN;

135.        MINISTRY OF ENERGY AND MINING OF THE REPUBLIC OF SUDAN;

136.        MINISTRY  OF   ENVIRONMENT,     FORESTS           AND    PHYSICAL
            DEVELOPMENT OF THE REPUBLIC OF SUDAN;

137.        MINISTRY OF FEDERAL GOVERNANCE OF THE REPUBLIC OF SUDAN;

138.        MINISTRY OF FINANCE AND NATIONAL ECONOMY OF THE REPUBLIC
            OF SUDAN;

139.        MINISTRY OF FOREIGN AFFAIRS OF THE REPUBLIC OF SUDAN;

140.        MINISTRY OF FOREIGN TRADE OF THE REPUBLIC OF SUDAN;

141.        MINISTRY OF GUIDANCE AND ENDOWMENTS OF THE REPUBLIC OF
            SUDAN;

142.        MINISTRY OF HEALTH OF THE REPUBLIC OF SUDAN;

143.        MINISTRY OF HIGHER EDUCATION AND SCIENTIFIC RESEARCH OF
            THE REPUBLIC OF SUDAN;

144.        MINISTRY OF HUMAN RESOURCES DEVELOPMENT & LABOR OF THE
            REPUBLIC OF SUDAN;

145.        MINISTRY OF HUMANITARIAN AFFAIRS OF THE REPUBLIC OF
            SUDAN;

146.        MINISTRY OF INFORMATION AND COMMUNICATIONS OF THE
            REPUBLIC OF SUDAN;

147.        MINISTRY OF INDUSTRY OF THE REPUBLIC OF SUDAN;

148.        MINISTRY OF INTERIOR OF THE REPUBLIC OF SUDAN;

149.        MINISTRY OF INVESTMENT OF THE REPUBLIC OF SUDAN;

150.        MINISTRY OF JUSTICE OF THE REPUBLIC OF SUDAN;

151.        MINISTRY OF MINERALS OF THE REPUBLIC OF SUDAN;

152.        MINISTRY OF OIL OF THE REPUBLIC OF SUDAN;



                                      10
   Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13   Page 11 of 72




153.    MINISTRY OF PARLIAMENTARY AFFAIRS OF THE REPUBLIC OF
        SUDAN;

154.    MINISTRY OF PUBLIC EDUCATION OF THE REPUBLIC OF SUDAN;

155.    MINISTRY OF SCIENCE AND TECHNOLOGY OF THE REPUBLIC OF
        SUDAN;

156.    MINISTRY OF SOCIAL WELFARE, WOMAN AND CHILD AFFAIRS OF
        THE REPUBLIC OF SUDAN;

157.    MINISTRY OF TOURISM, ANTIQUITIES AND WILDLIFE OF THE
        REPUBLIC OF SUDAN;

158.    MINISTRY OF TRANSPORT, ROADS AND BRIDGES OF THE REPUBLIC
        OF SUDAN;

159.    MINISTRY OF YOUTH AND SPORT OF THE REPUBLIC OF SUDAN;

160.    MINISTRY OF WELFARE AND SOCIAL SECURITY OF THE REPUBLIC
        OF SUDAN;

161.    MODERN ELECTRONIC COMPANY;

162.    MODERN LAUNDRY BLUE FACTORY (a.k.a. THE MODERN LAUNDRY
        BLUE FACTORY);

163.    MODERN PLASTIC & CERAMICS INDUSTRIES COMPANY                      (a.k.a.
        MODERN PLASTIC AND CERAMICS INDUSTRIES COMPANY);

164.    MODERN PLASTIC AND CERAMICS INDUSTRIES COMPANY (a.k.a.
        MODERN PLASTIC & CERAMICS INDUSTRIES COMPANY);

165.    NATIONAL CIGARETTES CO. LTD.;

166.    NATIONAL COTTON AND TRADE COMPANY;

167.    NATIONAL ELECTRICITY CORPORATION (a.k.a. SUDAN NATIONAL
        ELECTRICITY  CORPORATION;  a.k.a NATIONAL    ELECTRICITY
        CORPORATION (SUDAN));

168.    NATIONAL REINSURANCE COMPANY (SUDAN) LIMITED;

169.    NEW HAIFA SUGAR FACTORY;

170.    NEW HALFA SUGAR COMPANY (a.k.a. NEW HALFA SUGAR FACTORY


                                  11
   Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13   Page 12 of 72




        COMPANY LIMITED);

171.    NEW HALFA SUGAR FACTORY COMPANY LIMITED (a.k.a. NEW HALFA
        SUGAR COMPANY;

172.    NEW KHARTOUM TANNERY;

173.    NILE CEMENT COMPANY LIMITED;

174.    NILE CEMENT FACTORY;

175.    NILEIN INDUSTRIAL DEVELOPMENT BANK (SUDAN) (a.k.a. EL NILEIN
        BANK; n.k.a. EL NILEIN INDUSTRIAL DEVELOPMENT BANK (SUDAN);
        n.k.a. EL NILEIN INDUSTRIAL DEVELOPMENT BANK GROUP);

176.    NORTHWEST SENI’JAR SUGAR FACTORY;

177.    OIL CORPORATION;

178.    OMDURMAN SHOE FACTORY;

179.    PETROHELP PETROLEUM COMPANY LIMITED;

180.    PETROLEUM GENERAL ADMINISTRATION;

181.    PLASTIC SACKS FACTORY (a.k.a. SACKS FACTORY);

182.    PORT SUDAN COTTON AND TRADE COMPANY (a.k.a. PORT SUDAN
        COTTON COMPANY);

183.    PORT SUDAN COTTON COMPANY (a.k.a. PORT SUDAN COTTON AND
        TRADE COMPANY);

184.    PORT SUDAN DUTY FREE SHOP;

185.    PORT SUDAN EDIBLE OILS STORAGE CORPORATION;

186.    PORT SUDAN REFINERY LIMITED;

187.    PORT SUDAN SPINNING FACTORY;

188.    POSTS AND TELEGRAPHS PUBLIC CORPORATION (a.k.a POSTS &
        TELEGRAPHS CORP.);

189.    PUBLIC CORPORATION FOR BUILDING AND CONSTRUCTION;



                                  12
   Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13   Page 13 of 72




190.    PUBLIC CORPORATION FOR IRRIGATION AND EXCAVATION;

191.    PUBLIC CORPORATION FOR OIL PRODUCTS AND PIPELINES;

192.    PUBLIC ELECTRICITY AND WATER CORPORATION (a.k.a. CENTRAL
        ELECTRICITY AND WATER CORPORATION);

193.    RABAK OIL MILL;

194.    RAINBOW FACTORIES;

195.    RAM ENERGY COMPANY LIMITED;

196.    REA SWEET FACTORY;

197.    RED SEA HILLS MINERALS COMPANY;

198.    RED SEA STEVEDORING;

199.    REFRIGERATION AND ENGINEERING IMPORT COMPANY;

200.    ROADS AND BRIDGES PUBLIC CORPORATION;

201.    SACKS FACTORY (a.k.a. PLASTIC SACKS FACTORY);

202.    SENNAR SUGAR COMPANY LIMITED;

203.    SFZ (a.k.a. SUDANESE FREE ZONES AND MARKETS COMPANY);

204.    SHEIKAN INSURANCE AND REINSURANCE COMPANY LIMITED (a.k.a.
        SHEIKAN INSURANCE COMPANY);

205.    SHEIKAN INSURANCE COMPANY (a.k.a. SHEIKAN INSURANCE AND
        RETNSURANCE COMPANY LIMITED);

206.     SHEREIK MICA MINES COMPANY (a.k.a. SHERIEK MICA PROJECT);

207.     SHERIEK MICA PROJECT (a.k.a. SHEREIK MICA MINES COMPANY);

208.     SILOS AND STORAGE CORPORATION;

209.     SP[NNING AND WEAVING CORPORATION;

210.     SRC (a.k.a. SUDAN RAILWAYS CORPORATION);

211.     SRDC (a.k.a. SUDAN RURAL DEVELOPMENT COMPANY LIMITED);


                                  13
   Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13   Page 14 of 72




212.    STATE CORPORATION FOR CINEMA;

213.    STATE TRADING COMPANY (a.k.a. STATE TRADING CORPORATION);

214.    STATE TRADING CORPORATION (a.k.a. STATE TRADING COMPANY);

215.    SUDAN ADVANCED RAILWAYS;

216.    SUDAN AIR (a.k.a. SUDAN AIRWAYS; a.k.a SUDAN AIRWAYS CO. LTD.);

217.    SUDAN AIRWAYS (a.k.a. SUDAN AIR; a.k.a SUDAN AIRWAYS CO. LTD.);

218.    SUDAN COMMERCIAL BANK (f.k.a. FARMERS BANK FOR
        INVESTMENT & RURAL DEVELOPMENT; a.k.a. FARMERS BANK FOR
        INVESTMENT AND RURAL DEVELOPMENT; a.k.a. FARMERS
        COMMERCIAL BANK);

219.    SUDAN COTTON COMPANY;

220.    SUDAN COTTON COMPANY LIMITED;

221.    SUDAN DEVELOPMENT CORPORATION;

222.    SUDAN EXHIBITION AND FAIRS CORPORATION;

223.    SUDAN GEZIRA BOARD (a.k.a. GEZIRA SCHEME);

224.    SUDAN MASTER TECH (a.k.a. GlAD INDUSTRIAL CITY; a.k.a. GlAD
        INDUSTRIAL GROUP; a.k.a. SUDAN MASTER TECHNOLOGY)

225.    SUDAN MASTER TECHNOLOGY (a.k.a. GlAD INDUSTRIAL CITY; a.k.a.
        GlAD INDUSTRIAL GROUP; a.k.a. SUDAN MASTER TECH);

226.    SUDAN NATIONAL BROADCASTING CORPORATION (a.k.a. SUDAN
        RADIO & TV CORP.; a.k.a. SUDAN RADIO AND TV CORP.; a.k.a. SUDAN
        T.V. CORPORATION);

227.    SUDAN NATIONAL INFORMATION CENTER;
228.    SUDAN   NATIONAL   PETROLEUM      COMPANY       (a.k.a. SUDAN
        PETROLEUM COMPANY LIMITED;a.k.a. SUDAPET;a.k.a. SUDAPET LTD.);

229.    SUDAN OIL CORPORATION;

230.    SUDAN OIL SEEDS COMPANY LIMITED;



                                  14
   Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13   Page 15 of 72




231.    SUDAN OLYMPIC COMMITTEE;

232.    SUDAN PETROLEUM COMPANY LIMITED (a.k.a. SUDAPET; a.k.a.
        SUDAPET LTD.; a.k.a SUDAN NATIONAL PETROLEUM COMPANY);

233.    SUDAN RADIO & TV CORP. (a.k.a. SUDAN NATIONAL BROADCASTING
        CORPORATION; a.k.a. SUDAN RADIO AND TV CORP.; a.k.a. SUDAN T.V.
        CORPORATION);

234.    SUDAN RADIO AND TV CORP. (a.k.a. SUDAN NATIONAL
        BROADCASTING CORPORATION; a.k.a. SUDAN RADIO & TV CORP.;
        a.k.a. SUDAN T.V. CORPORATION);

235.    SUDAN RAILWAYS CORPORATION (a.k.a. SRC);

236.    SUDAN-REN CHEMICALS & FERTILIZERS LTD.;

237.    SUDAN RURAL DEVELOPMENT COMPANY LIMITED;

238.    SUDAN SHIPPING LINE (a.k.a. SUDAN SHIPPING);

239.    SUDAN SOAP CORPORATION;

240.    SUDAN T.V. CORPORATION (a.k.a. SUDAN NATIONAL BROADCASTING
        CORPORATION; a.k.a. SUDAN RADIO & TV CORP.; a.k.a. SUDAN RADIO
        AND TV CORP.);

241.    SUDAN TEA COMPANY, LTD.;

242.    SUDAN TELECOM (a.k.a. SUDAN TELECOM GROUP; a.k.a. SUDATEL
        TELECOM GROUP ; a.k.a. SUDATEL);

243.    SUDAN TELECOM GROUP (a.k.a. SUDAN TELECOM; a.k.a. SUDATEL
        TELECOM GROUP ; a.k.a. SUDATEL);

244.    SUDAN    TELECOMMUNICATIONS          COMPANY       LIMITED        (a.k.a.
        SUDATEL);

245.    SUDATEL TELECOM GROUP (a.k.a. SUDAN TELECOM GROUP; a.k.a.
        SUDAN TELECOM GROUP ; a.k.a. SUDATEL);

246.    SUDATEL (a.k.a. SUDAN TELECOM GROUP; a.k.a. SUDATEL TELECOM
        GROUP; a.k.a. SUDAN TELECOM);

247.    SUDATEL INVESTMENTS;



                                  15
   Case 1:13-cv-03127-PKC     Document 1    Filed 05/09/13   Page 16 of 72




248.    SUDAN WAREHOUSING COMPANY;

249.    SUDANESE COMPANY FOR BUILDING AND CONSTRUCTION LIMITED;

250.    SUDANESE ESTATES BANK;

251.    SUDANESE FREE ZONES AND MARKETS COMPANY (a.k.a. SFZ);

252.    SUDANESE INTERNATIONAL TOURISM COMPANY;

253.    SUDANESE MINING CORPORATION;

254.    SUDANESE PETROLEUM CORPORATION;

255.    SUDANESE REAL ESTATE SERVICES COMPANY;

256.    SUDANESE SAVINGS BANK;

257.    SUDANESE STANDARDS & METEROLOGY ORGANIZATION;

258.    SUDANESE SUGAR COMPANY (a.k.a. SUDANESE SUGAR PRODUCTION
        COMPANY LIMITED);

259.    SUDANESE SUGAR PRODUCTION                COMPANY           LIMITED   (a.k.a.
        SUDANESE SUGAR COMPANY);

260.    SUDAPET (a.k.a. SUDAN PETROLEUM COMPANY LIMITED; a.k.a SUDAN
        NATIONAL PETROLEUM COMPANY; a.k.a. SUDAPET LTD.),;

261.    SUDAPET LTD. (a.k.a. SUDAN PETROLEUM COMPANY LIMITED; a.k.a
        SUDAN NATIONAL PETROLEUM COMPANY; a.k.a. SUDAPET);

262.    SUDATEL     (a.k.a.   SUDAN      TELECOMMUNICATIONS            COMPANY
        LIMITED);

263.    SUGAR AND DISTILLING             CORPORATION     (a.k.a.     SUGAR   AND
        DISTILLING INDUSTRY
264.    CORPORATION);

265.    SUGAR AND DISTILLING INDUSTRY CORPORATION (a.k.a. SUGAR
        AND DISTILLING
266.    CORPORATION);

267.    TAHEER PERFUMERY CORPORATION;

268,    TAHREER PERFUMERY CORPORATION;


                                    16
          Case 1:13-cv-03127-PKC      Document 1       Filed 05/09/13     Page 17 of 72




   269.        TAKA AUTOMOBILE COMPANY                  (a.k.a.   EL   TAKA AUTOMOBILE
               COMPANY);

   270.        TEA PACKETING AND TRADING COMPANY;

   271.        THE MODERN LAUNDRY BLUE FACTORY (a.k.a. MODERN LAUNDRY
               BLUE FACTORY);

   272.        TOURISM AND HOTELS CORPORATION;

   273.        WAD MADANI DUTY FREE SHOP;

   274.        WAFRA CHEMICALS & TECHNO-MEDICAL SERVICES LIMITED (a.k.a.
               WAFRA CHEMICALS AND TECHNO-MEDICAL SERVICES LIMITED);

   275.        WAFRA CHEMICALS AND TECHNO-MEDICAL SERVICES LIMITED
               (a.k.a. WAFRA CHEMICALS & TECHNO-MEDICAL SERVICES LIMITED);

   276.        WAFRA PHARMA LABORATORIES (a.k.a. WAFRA PHARMACEUTICALS;
               a.k.a. WAFRAPHARMA LABORATORIES);

   277.        WAFRA PHARMACEUTICALS (a.k.a. WAFRA PHARMA LABORATORIES;
               a.k.a. WAFRAPHARMA LABORATORIES);

   278.        WAFRAPHARMA       LABORATORIES    (a.k.a. WAFRA                       PHARMA
               LABORATORIES; a.k.a. WAFRA PHARMACEUTICALS);

   279.        WAU FRUIT AND VEGETABLE CANNING FACTORY;

   280.        WHITE NILE BATTERY COMPANY;

   281.        WHITE NILE BREWERY;

   282.        WHITE NILE PETROLEUM OPERATING COMPANY (a.k.a. WNPOC);

   283.        WI-IITE NILE TANNERY.

       Attached hereto as Exhibits are true and correct copies of the Complaint (Exhibit A), the

March 30, 2012 Order & Judgment (Exhibit B), and the Clerk’s Certificate of registration of the

Order & Judgment in the Southern District of New York, dated October 2, 2012 (Exhibit C).




                                               17
      Case 1:13-cv-03127-PKC   Document 1     Filed 05/09/13      Page 18 of 72




Dated: May   2013



                                   Edward H. Rosenthal, Esq.
                                   Beth I. Goldman, Esq.
                                   FRANKFURT KURNIT KLEIN & SELZ, P.C.
                                   488 Madison Avenue, 10th
                                                             Floor
                                   New York, New York 10022
                                   Tel.: (212) 980-0120
                                   Fax: (212) 593-9175

                                   Andrew C. Hall, Esq.*
                                   Roarke Maxwell, Esq. *
                                   Brandon R. Levitt, Esq.
                                   HALL, LAMB AND HALL P.A.
                                   2665 South Bayshore Drive, PHi
                                   Miami, Florida 33133
                                   Tel.: (305) 374-5030
                                   Fax: (305) 374-5033
                                   * admitted pro hac vice



                                   Attorneys for Plaintffs, Rick Harrison, et al.




                                      18
Case 1:13-cv-03127-PKC    Document 1   Filed 05/09/13   Page 19 of 72




                         V 1IflIHX(
     Case 1:13-cv-03127-PKC      Document 1   Filed 05/09/13    Page 20 of 72
          Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 1 of 46



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

RICK HARRISON                        )
I376IRONCAPDRIVE                     )
STEVENS VILLE, MT 59870              )
                                     )
JOl-IN BUCKLEY                       )           Civil Action No.:
164 PETERS HOLLOW RD.                )
ELIZABETHTON, TN 37643               )
                                     )
MARGARET LOPEZ                       )
608 COUNTY RD. 343                   )
MARBLE FALLS, TX 78654               )
                                     )
ANDREW LOPEZ                         )
608 COUNTY RD. 343                   )
MARBLE FALLS, TX 78654               )
                                     )
ROBERT MCTUREOUS                     )
115 BRAIDED BLANKET BLUFF            )
JOHNS CREEK, GA 30022                )
                                     )
DAVID MORALES                        )
do HALL, LAMB AND HALL, P.A.         )
2665 5. BAYSHORE DR., PH 1           )
MIAMI, FL 33133                      )
GINA MORRIS                          )
521 SE ST.                           )
CROWN POINT, IN 46307                )
                                     )
MARTIN SONGER, JR.                   )
P.O. BOX 374                         )
MERRY VILLE, LA 70653                )
                                     )
SHELLYSONGER                         )
P.O. BOX 374                         )
MERRYVILLE, LA 70653                 )
                                     )
KESHA STIDHAM                        )
6516 HUDSON AVE.                     )
NORFOLK, VA 23502                    )
                   Plaintiffs,        )
IOO2\OO18444O1)                          I
      Case 1:13-cv-03127-PKC               Document 1        Filed 05/09/13      Page 21 of 72
              Case 1:10-cv-01689-RCL Document 1              RIed 10/04/10 Page 2 of 46




                                                  )
v.                                                )
                                                  )
REPUBLIC OF SUDAN,                                )
                                                  )
                           Defendant.             )

                                              COMPLAINT

         Plaintiffs, Rick Harrison, John Buckley, Margaret Lopez, Andrew Lopez, Robert

McTureous, David Morales, Gina Morris, Martin Songer, Jr., Shelly Songer, and Kesha Stidham,

bring this action against Defendant Republic of Sudan, seeking damages arising out of injuries

sustained as a result of the attack on the U.S.S. Cole, on October 12, 2000. Plaintiffs, as persons

who have claims under 28 U.S.C. § I 605A, seek judgment for damages against Defendant

Republic of Sudan, which provided material support, in the form of funding, direction, training

and cover to Al Qaeda, a worldwide terrorist organization whose operatives facilitated the

planning and execution of the bombing of the U.S.S. Cole.              In support of their Complaint,

Plaintiffs allege that:

                                     JURISDICTION AND VENUE

         1.         Jurisdiction over the subject matter of this case arises from the Foreign Sovereign

Immunities Act, as amended, 28 U.S.C. § I 605A. Plaintiffs have complied with all conditions

precedent to this action. Plaintiffs have made an offer to arbitrate this action, pursuant to the

international rules of arbitration, contemporaneously with the service of this Complaint.

        2.          This Court has subject matter and personal jurisdiction over Defendant. Venue is

proper in this Judicial District, pursuant to 28 U.S.C. § 1391(f)(4).

        3.          Service of the Summons, Complaint, Notice of Suit and Offer to Arbitrate can be



{10012\00184440l}                                 2
       Case 1:13-cv-03127-PKC                Document 1        Filed 05/09/13      Page 22 of 72
              Case 1:10-cv-01689-RCL Document 1               Filed 10/04/10 Page 3 of 46



made upon Defendant Republic of Sudan by service on the Defendant’s Ministry of Foreign

Affairs, in care of the Embassy of the Republic of the Sudan located at 2210 Massachusetts

Avenue NW, Washington, D.C. 20008, pursuant to 28 U.S.C. § 1608(a)(3).

                                              THE PARTIES

         4.          The Plaintiffs are American citizens, who were severely and permanently injured,

on October 12, 2000, as a result of the wrongful attack and bombing of the U.S.S. Cole. The

bombing of the U.S.S. Cole was an act of international terrorism as defined in 18 U.S.C. § 2331.

                                               Rick Harrison

         5.          Plaintiff Rick Harrison was a sailor stationed on board the U.S.S. Cole on October

12, 2000. At the time of the attack, Mr. Harrison was below deck on the starboard side of the

vessel, within thirty-five to forty feet of the site of the blast.

         6.          As a result of the blast, Mr. Harrison suffered severe and permanent injuries to his

knees, lower back, and ear drums. Despite his injuries, he was not immediately rnedevaced off

the ship. Mr. Harrison, acting in his capacity as fire marshal, remained on board to assist in the

fire containment and rescue operations. While he remained on board, Mr. Harrison inhaled toxic

smoke in a room where wiring was burning and later developed a lung condition as a result.

         7.          Mr. Harrison has undergone intense medical treatment for his injuries, including

numerous surgeries. He has been deemed unemployable by the Veteran’s Administration and

suffers from severe post-traumatic stress disorder.

                                                John Buckley

         8.          Plaintiff John Buckley was a sailor stationed on board the U.S.S. Cole on October

12, 2000. At the time of the attack, Mr. Buckley was located below the main deck, directly



{10012\00184440.I}                                  3
      Case 1:13-cv-03127-PKC               Document 1        Filed 05/09/13      Page 23 of 72
              Case 1:10-cv-01689-RCL Document 1              Filed 10/04/10 Page 4 of 46



above the water line, within ten feet of the site of the blast.

         9.         As a result of the blast, Mr. Buckley suffered severe and permanent injuries to his

knees and lower back.

         10.        Mr. Buckley has undergone intense medical treatment for his injuries, including

numerous surgeries. He has been deemed totally disabled by the Veteran’s Administration and

suffers from severe post-traumatic stress disorder.

                                  Margaret Lopez and Andrew Lopez

         11.        Plaintiff Margaret Lopez was a sailor stationed on board the U.S.S. Cole on

October 12, 2000. At the time of the attack, Ms. Lopez was located below the main deck, in the

oil lab, at the water line.

         12.        As a result of the blast, Ms. Lopez suffered second and third degree burns,

resulting in permanent scars, blunt force trauma, whiplash, rupture of the tympanic membrane of

both of her ears (resulting in permanent hearing loss).

         13.        Ms. Lopez has undergone intense medical treatment for her injuries. She has

been deemed totally disabled by the Veteran’s Administration and suffers from severe migraines

and post-traumatic stress disorder.

         14.        Plaintiff Andrew Lopez is the spouse of Margaret Lopez and was married to Ms.

Lopez at the time of the attack on the U.S.S. Cole. Mr. Lopez was also a sailor in the employ of

the United States Navy, but was not stationed onboard the U.S.S. Cole. Mr. Lopez was aware

that the bombing of the U.S.S. Cole had taken place, and that Ms. Lopez was on board and

severely injured in the attack. Mr. Lopez suffered severe emotional distress and mental anguish,

upon learning of the attack on the U.S.S. Cole and the injuries to his wife.



{IOO12\OO8444O I)                                 4
      Case 1:13-cv-03127-PKC               Document 1        Filed 05/09/13      Page 24 of 72
            Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 5 of 46



         15.        As a result of the emotional distress and mental anguish he suffered as a result of

the attack on the U.S.S. Cole, Mr. Lopez suffers from severe post-traumatic stress disorder and

has been deemed 40% disabled by the Veteran’s Administration.

                                              David Morales

         16.        Plaintiff David Morales was a sailor stationed on board the U.S.S. Cole on

October 12, 2000. At the time of the attack, Mr. Morales was located below the main deck,

below the water line, within twenty-five feet of the site of the blast.

         17.        The explosion caused Mr. Morales to be thrown from his bunk to the deck. Mr.

Morales suffered whiplash and trauma to his face from the impact. As a result of the injury to

his neck, Mr. Morales now suffers from degenerative disk disease.

         18.        Mr. Morales has undergone intense medical treatment for his injuries. He has

been deemed 30% disabled by the Veteran’s Administration and suffers from severe post-

traumatic stress disorder.

                                           Robert McTureous

         19.        Plaintiff Robert McTureous was a sailor stationed on board the U.S.S. Cole on

October 12, 2000. At the time of the attack, Mr. McTureous was located below the main deck,

in the oil lab, at the water line.

        20.         As a result of the blast, Mr. McTureous suffered severe and permanent injuries.

These injuries include, but are not limited to, the following: rupture of the tympanic membrane

of both of his ears, resulting in permanent hearing loss and tinnitus; blunt and penetrating trauma

(shrapnel), resulting in permanent scarring; and second degree burns, resulting in permanent

scarring.



{10012\001844401}                                 5
     Case 1:13-cv-03127-PKC                Document 1       Filed 05/09/13      Page 25 of 72
            Case 1:10-cv-01689-RCL Document 1               Filed 10/04/10 Page 6 of 46



        21.         Mr. McTureous has undergone intense medical treatment for his injuries. He has

been deemed 70% disabled by the Veteran’s Administration and suffers from severe post-

traumatic stress disorder.

                                              Gina Morris

        22.         Plaintiff Gina Morris was a sailor stationed on board the U.S.S. Cole on October

12, 2000.     At the time of the attack, Ms. Morris was located below the main deck, in the

Engineering Log Room, one deck above the blast.

        23.         As a result of the attack on the U.S.S. Cole, Ms. Morris suffered emotional

distress and mental anguish.         Ms. Morris was diagnosed with severe post-traumatic stress

disorder and was discharged from the Navy in August 2001.

                                 Martin Son2er, Jr. and Shelly Songer

        24.         Plaintiff Martin Songer, Jr. was a sailor stationed on board the U.S.S. Cole on

October 12, 2000. At the time of the attack, Mr. Songer was located in the boatswain’s shop.

        25.         As a result of the attack on the U.S.S. Cole, Mr. Songer suffered emotional

distress, mental anguish and blunt force trauma.         Mr. Songer continues to suffer from post-

traumatic stress disorder.

        26.         Plaintiff Shelly Songer is the spouse of Martin Songer, Jr. and was married to Mr.

Songer at the time of the attack on the U.S.S. Cole. Ms. Songer was aware that the bombing of

the U.S.S. Cole had taken place, and that Mr. Songer was on board at the time of the attack. Ms.

Songer suffered severe emotional distress and mental anguish, upon learning of the attack on the

U.S.S. Cole.

        27.         As a result of the post-traumatic stress disorder, emotional distress and mental



1OO12\OO18444O 1}                                 6
      Case 1:13-cv-03127-PKC               Document 1       Filed 05/09/13      Page 26 of 72
           Case 1:10-cv-01689-RCL Document 1 EHed 10/04/10 Page 7 of 46



anguish from which Mr. Songer continues to suffer, Ms. Songer has suffered a loss of

consortium.

                                             Kesha Stidham

        28.         Plaintiff Kesha Stidham was a sailor stationed on board the U.S.S. Cole on

October 12, 2000. At the time of the attack, Ms. Stidham was located in the outside galley near

the end of the mess line.

        29.         As a result of the blast, Ms. Stidham suffered severe and permanent injuries.

These injuries include, but are not limited to, the following: broken ribs; rupture of the tympanic

membrane of both of her ears, resulting in permanent hearing loss; and facial trauma that has left

her with permanent scars.

        30.         Ms. Stidham has undergone intense medical treatment for her injuries.         She

suffers from severe post-traumatic stress disorder and has not worked in two years as a result.

                                         The Republic of Sudan

        31.         Defendant Republic of Sudan is a foreign state that, at all times material to this

action, has been designated a state sponsor of terrorism pursuant to            § 6(j) of the Export
Administration Act, 50 U.S.C. § 2405(j). It was first designated a state sponsor of terrorism by

U.S. Secretary of State Warren Christopher on August 12, 1993. It remained so designated at the

time of the attack on the U.S.S. Cole and is still so designated. The Republic of Sudan has

provided material support and resources to Al Qaeda, a worldwide paramilitary terrorist

organization. The Republic of Sudan has sponsored Al Qaeda, within the meaning of 28 U.S.C.

§ 1605A, by providing it with funding, direction, training and cover for its terrorist activities
worldwide.



{OO12\OO18444O 1)                                 7
       Case 1:13-cv-03127-PKC               Document 1       Filed 05/09/13     Page 27 of 72
            Case 1:10-cv-01689-RCL Document 1               Filed 10/04/10 Page 8 of 46



                        ALLEGATIONS OF LIABILITY AS TO ALL COUNTS

         32.         The acts of Defendant Republic of Sudan created civil liability on the part of

Defendant Republic of Sudan under 28 U.S.C. § 1605A for the physical and mental injuries

suffered by the Plaintiffs.

         33.         The acts of Defendant Republic of Sudan in knowingly and materially providing

support to the perpetrators of the bombing of the U.S.S. Cole were and are acts of international

terrorism under 18 U.S.C. §‘ 2331 and 2333(a).

         34.         At approximately 8:30 a.m. on October 12, 2000, the U.S.S. Cole (“Cole”)

entered the Port of Aden, Yemen, to temporarily stop for refueling. At approximately 8:49 am.,

the Cole moored starboard side to a refueling station, near the mouth of the harbor. The ship

began refueling at approximately 10:3 1 a.m. At approximately 11:10 a.m., one of the sailors

standing watch over the refueling noticed a small boat heading “fast and hard” toward the Cole

from the direction of the city. The boat was manned by two males, both of whom appeared to be

in their early thirties.       As they approached the Cole, the two men slowed the boat and

maneuvered it parallel to the ship, coming down the port side headed aft. Seconds later, the boat

exploded.

         35.         The blast ripped a thirty-two-foot by thirty-six-foot hole in the port side. The

main engine room, auxiliary machine room, and the dry provisions storeroom were flooded.

Several chambers, including the Crew and Chief Petty Officer’s Galley, were structurally

destroyed. The blast and its after-effects killed seventeen Navy sailors, all of them American

citizens. Forty-two others were injured, some of them sustaining serious burns to their faces,

hands and arms, as well as lacerations and fractures.



{10012\00184440 I)                                8
      Case 1:13-cv-03127-PKC                Document 1       Filed 05/09/13       Page 28 of 72
           Case 1:10-cv-01689-RCL            Document 1 Filed 10/04/10 Page 9 of 46



         36.        Plaintiffs are American sailors who sustained serious and permanent injuries as a

result of the attack on the Cole and their spouses.

         37.        Sudan is a country of 41.2 million inhabitants. It is located at the east end of the

Sahara desert in northern Africa. Sudan is bounded on the northeast by the Red Sea. Directly

across the Red Sea from Sudan is the Republic of Yemen, and the span between the two

countries can be easily crossed by boat.

         38.        Sudan’s population is a majority Sunni Muslim, most of whom are in the north.

The country has for years been ravaged by war and humanitarian crises, including an ongoing

conflict that began in the mid-1980s between the Muslim government in the north and rebels in

the rural south, which is populated largely by tribal and Christian groups.

         39.        In 1989, General Omar Bashir assumed the presidency of Sudan in a military

coup that overthrew the elected government and converted Sudan into an Islamic Arab state.

Bashir remains Sudan’s President today. The coup was orchestrated by Hassan Abdallah Turabi,

head of the Sudanese political party the National lslamic Front (“NIF”) and leader of the Muslim

Brotherhood. Turabi was the regime’s de facto leader from 1989 until late 1999, when he was

ousted and later put in jail. During the 1990s, Turabi and the NIF transformed Sudan into a

centralized, radical Islamic state that openly supported movements and organizations with

militant Islamic, anti-American, anti-Western ideologies.

        40.         Since 1993, the United States has continuously designated Sudan as a state

sponsor of terrorism. 58 Fed. Reg. 52523-01 (Oct. 8, 1993).

        41.         Al Qaeda is a worldwide terrorist network led by Osama Bin Laden that has

declared war against the United States and others who do not share its militant brand of Islam.



{10012\001844401)                                  9
      Case 1:13-cv-03127-PKC             Document 1       Filed 05/09/13      Page 29 of 72
          Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 10 of 46



Al Qaeda was founded by Bin Laden in Afghanistan in approximately 1990 to serve as a base for

like-minded Sunni Islamic extremists.

        42.        During the Afghanistan war from 1979 to 1989, Bin Laden, the son of a wealthy

Saudi construction magnate, organized and financed the recruitment and training of Arab

nationals to fight alongside the Afghan mujahadin against the Soviet Union.

        43.        As is well known today, Al-Qaeda has organized, executed or inspired acts of

terrorism around the world that killed or injured thousands of innocent people, including the

September 11, 2001, attacks on the United States.          Al Qaeda has supported terrorists in

Afghanistan, Bosnia, Chechnya, Tajikistan, Somalia, Yemen, and Kosovo, and has trained

terrorists from countries including the Philippines, Algeria, and Eritrea.

        44.        Following the Soviet withdrawal from Afghanistan in 1989, Bin Laden’s group

was no longer welcome in Afghanistan. Bin Laden briefly returned to his home country of Saudi

Arabia but was expelled in 1990 for his support of terrorism. At a time when Al Qaeda found

itself without a territory from which it could base its terrorist operations, Turabi offered the

organization refuge in Sudan.

        45.        As stated by a 1996 U.S. Department of State report on Bin Laden, Bin Laden

“relocated to Sudan in 1991, where he was welcomed by National Islamic Front (NIF) leader

Hassan al-Turabi.” Bin Laden lived in Sudan from 1991 until May 1996, when he was expelled

from the country under international pressure. He then relocated to Afghanistan.

        46.        Turabi and Bin Laden shared a common extremist ideological and religious

outlook. Turabi, who was dean of the University of Khartoum law school in the 1960s,

envisioned a pan-Islamic force consisting of both Shiites and Sunnis to counterbalance Western



{OO12\OOi8444O 1                               10
       Case 1:13-cv-03127-PKC              Document 1       Filed 05/09/13   Page 30 of 72
            Case 1:10-cv-01689-RCL Document 1 Fed 10/04/10 Page 11 of 46



powers militarily, economically, and politically. As the de facto leader of the Sudanese regime,

Turabi sought to impose sharia, or Islamic law, as the only source of law in Sudan, a goal shared

by Al Qaeda. Bin Laden agreed to help Turabi in the regime’s ongoing war against African

Christian separatists in southern Sudan, and also to invest his wealth in the poor country’s

infrastructure.

          47.        In exchange, Sudan provided Bin Laden’s fledgling terrorist group with a

sanctuary within which it could freely meet, organize, and train militants for operations. Bin

Laden established several joint business ventures with the Sudanese regime that began to flourish

upon his arrival in the Sudanese capital of Khartoum in 1991. Bin Laden formed symbiotic

business relationships with wealthy NIF members by undertaking civil infrastructure

development projects on the regime’s behalf.

         48.         Bin Laden’s businesses in Sudan included:

         (1) Al-Hijrah for Construction and Development, Ltd., which built the Tahaddi

         road between Khartoum and Port Sudan on the Red Sea coast, as well as a modern

         international airport near Port Sudan;

         (2) An import-export firm, Wadi al-Aqiq Company, Ltd., which, in conjunction

         with Bin Laden’s Taba Investment Company, Ltd., and with the cooperation of

         prominent NIF members, secured a near monopoly over Sudan’s agricultural

         exports of gum, corn, sunflower, and sesame products; and

         (3) Al-Themar al-Mubarak-ah Agriculture Company, Ltd., which acquired large

         tracts of land near Khartoum and in eastern Sudan.

These businesses provided income to Al Qaeda, as well as cover for the procurement of



{10012\00184440.I}                                11
      Case 1:13-cv-03127-PKC                Document 1        Filed 05/09/13      Page 31 of 72
          Case 1:10-cv-01689-RCL Document 1                  Filed 10/04/10 Page 12 of 46



explosives, weapons, and technical equipment, and for the travel of Al Qaeda operatives. Bin

Laden continued to maintain his substantial business interests and facilities in Sudan even after

his departure to Afghanistan in 1996.

        49.          Sudan allowed its banking institutions to be used by Al Qaeda to launder money.

Bin Laden and wealthy members of the NIF capitalized Al-Shamal Islamic Bank in Khartoum;

Bin Laden personally invested $50 million in the bank. In the late 1980s, Sudan adopted an

Islamic banking system that forbids interest and lacks the rigorous accounting standards used by

Western banking systems. The lack of scrutiny associated with this system was ideal for Al

Qaeda because it allowed the group to move large sums of money in support of its operations

without detection. As Mr. Farah, who is the author of “Blood From Stones: The Secret Financial

Network of Terror,” testified, Sudan “provided [Al Qaedaj fundamentally with a banking

structure, Islamic structure that’s out of the norm of the banking rules that we’re acquainted with

in the west, and allowed them channels to move money through that would be virtually

undiscoverable to the outside world.” He added that Sudan “clearly had control over the banking

system.   ..   .   [Al Qaeda] couldn’t have operated with that degree of freedom and openness if they

had not been sanctioned by the central government to do so.”

        50.          In addition, as reported by the U.S. Department of State in its annual “Patterns of

Global Terrorism” reports, the Sudanese military cooperated with Bin Laden and Al Qaeda to

finance at least three terrorist training camps in northern Sudan by January 1994.

        51.          Bin Laden’s AI-Hijrah for Construction and Development company worked

directly with Sudanese military officials to transport and provision the camps, where terrorists of

Egyptian, Algerian, Tunisian, and Palestinian origin received training. From as early as 1997 to



1OO12\OO18444O1}                                   12
      Case 1:13-cv-03127-PKC             Document 1          Filed 05/09/13   Page 32 of 72
          Case 1:10-cv-01689-RCL Document 1              Filed 10/04/10 Page 13 of 46



at least 1999, Sudan served as a “training hub” for Al Qaeda and other terrorist groups that used

Sudan as a secure base for assisting compatriots elsewhere.

        52.         Furthermore, starting as early as 1997 the Sudanese Government provided

paramilitary training to terrorist organizations in Sudan.

        53.         Starting in the early 1990s, Turabi and the Sudanese regime convened annual

conferences in Sudan under the label Popular Arab and Islamic Conference. At these

conferences, Bin Laden and other top leaders and operatives from the most violent Islamic

terrorist organizations, including Bin Laden’s Islamic Army Shura, the Palestinian Liberation

Organization, Hamas, and Hezbollah, congregated to exchange information and plan terrorist

activities. Turabi saw the conferences as a means of bringing together Sunnis and Shiites in the

fight against the common enemy, i.e. the United States and other Western powers. Although the

conference was closed down in approximately 2000, Sudan “continued to be used as a

safehaven” by Al Qaeda and other terrorist groups.

        54.         As early as 1998, Sudan provided Al Qaeda members with Sudanese diplomatic

passports as well as regular Sudanese travel documentation that facilitated the movement of Al

Qaeda operatives in and out of Sudan. Diplomatic passports allow the holder to pass through

airport security in airports and ports around the world without his bags being checked and

without the same level of scrutiny or searches normally given to regular passport holders. A

diplomatic passport typically lasts between five and ten years. Thus, these diplomatic passports

issued in 1998 would not have expired prior to 2003. The use of diplomatic passports allowed

Al Qaeda agents to enter and leave Sudan and cross borders in other countries with diplomatic

pouches carrying secret materials to prepare for attacks without arousing suspicion.



{1OO12\OO8444O.1}                               13
       Case 1:13-cv-03127-PKC              Document 1       Filed 05/09/13     Page 33 of 72
           Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 14 of 46



         55.         The Government of Sudan’s provision of diplomatic passports to Al Qaeda, which

was necessarily a government function carried out by government officers or agents, was critical

to Al Qaeda’s method of training its operatives in one country and then dispatching them with

their materials to other countries to carry out operations or await instructions. By giving Al

Qaeda diplomatic passports, as well as diplomatic pouches that could be carried without

inspection, Sudan enabled Al Qaeda to transport weapons and munitions outside the country and

into other countries undetected by customs agents.

         56.         In addition, Sudan exempted Al Qaeda and its members from paying any taxes or

import duties and permitted it to bring containers into the country without inspection by customs.

         57.         Sudan’s support of Al Qaeda continued even after Bin Laden’s expulsion from the

country in 1996 and lasted at least until the Cole bombing in October 2000. As reported in the

U.S. Department of State’s annual “Patterns of Global Terrorism” reports, each year from 1997

through 2000 Sudan continued to serve as a meeting place, safe haven, and training hub for Al

Qaeda and other terrorist groups including Lebanese Hizballah, Palestinian Islamic Jihad, Abu

Nidal Organization, and Hamas. As of 1999, this support included “paramilitary training, money,

religious indoctrination, travel, documents, safe passage, and refuge” and as of 2000 it “included

the provision of travel documentation, safe passage, and refuge. Most of the groups maintained

offices and other forms of representation in the capital, using Sudan primarily as a secure base

for organizing terrorist operations and assisting compatriots elsewhere.”

         58.         The strike against the Cole was part of a decade-long plan conceived and

executed by Bin Laden and Al Qaeda to attack U.S. interests in the Middle East, specifically

American military forces. The Cole plot was an Al Qaeda operation supervised directly by Bin



{10012\00184440.I}                                14
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 34 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 15 of 46



Laden. As stated in the 9/11 Commission Report, Bin Laden “chose the target and location of the

attack, selected the suicide operatives, and provided the money needed to purchase explosives

and equipment.”

         59.        The U.S.S. Cole attack’s “mastermind” was Qaed Salim Sinan al-Harethi, also

known as Au Qaed Sinan Harthi, who was one of Bin Laden’s bodyguards. Al-Harethi was

trained by Al Qaeda in Sudan in the 1990s before being dispatched to Yemen where he became

the chief of operations of Al Qaeda in Yemen.

         60.        The explosives used in the Cole attack were sent by Al Qaeda operatives in

Sudan. This finding is corroborated by the testimony of one of Bin Laden’s lieutenants in Sudan,

Jamal Al-Fadl, who testified in criminal proceedings against Bin Laden arising out of the 1998

embassy bombings. Mr. Al-Fadi stated in sworn testimony in a trial before the United States

District Court for the Southern District of New York that he worked under Bin Laden in Sudan;

that he stored four crates of weapons and explosives at a farm in Sudan owned by Bin Laden;

and that he shipped the four crates in an Al Qaeda-owned boat from a facility owned by the

Sudanese military in Port Sudan to Yemen, where they were to be used to “fight the

Communists.”

         61.        Sudan, beginning in the early 1990s and continuing at least until 2000, actively

provided Al Qaeda with the support, guidance, Sudanese diplomatic passports and resources that

allowed it to transform into a sophisticated, worldwide terrorist network, and that such support

was critical to Al Qaeda developing the expertise, networks, military training, munitions, and

financial resources necessary to plan and carry out the attack that killed the seventeen American

sailors on the Cole.



{10012\001844401)                                15
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 35 of 72
         Case 1:10-cv-01689-RCL Document 1 PHed 10/04/10 Page 16 of 46



          62.       Ayman Al-Zawahiri, a top-ranking member of Al Qaeda, reached an agreement in

 1998 with Sudan’s national Islamic groups to establish budgets to finance terror operations.

          63.       Sudanese Foreign Minister Mustafa Osman Ismail admitted Sudan’s role in

supporting terrorism and Al Qaeda specifically on a C-SPAN broadcast on May 21, 2003.

         64.        As a result of the support in facilities, as a safe haven, and of materials including

radios, weapons and explosives by the Republic of Sudan to Al Qaeda, the Republic of Sudan

caused Al Qaeda to be able to plan and execute its attack against an American naval vessel, and

in particular the attack against the U.S.S. Cole, which lead to the injuries sustained by the

Plaintiffs named herein.        As a result, the Republic of Sudan is liable to Plaintiffs for their

damages.

         65.        Each of the Plaintiffs have suffered physical and psychological injuries for which

they are entitled to damages consistent with their status as recognized by the law, applicable to

this matter pursuant to 28 U.S.C. § 1605A.

                      COUNT I STATUTORY PERSONAL INJURY ACTION
                                 -




                          UNDER 28 US.C. 1605A RICK HARRSION
                                                         -




         66.        Plaintiffs reallege and incorporate herein by reference the allegations of

paragraphs I through 65.

         67.        In 2000, Rick Harrison, in the course of his service in the United States Navy, was

a crew member aboard the U.S.S. Cole wherever its missions and orders directed it.

         68.        On October 12, 2000, during the course of the voyage, and while the vessel was in

Aden Harbor, Yemen, Mr. Harrison was intentionally physically injured by Al Qaeda operatives

supported by the Defendant Republic of Sudan. The Al Qaeda operatives drove a boat laden

with explosives into the side of the vessel and detonated the explosives. The resultant explosion


{10012\00184440 i                                 16
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 36 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 17 of 46



tore a 40 foot hole in the side of the vessel, causing Mr. Harrison to suffer severe and permanent

physical and psychological injuries.

          69.        The injuries caused to Mr. Harrison aboard the U.S.S. Cole on October 12, 2000,

were intentional and malicious and in willful, wanton and reckless disregard of Mr. Harrison’s

rights.

          70.        Mr. Harrison’s injuries were not caused or contributed to by any negligence on his

part, but were caused solely by the wrongful act, neglect, and default of Defendant, its agents and

employees. In particular, Mr. Harrison’s injuries were caused solely by the Defendant Republic

of Sudan’s wrongful acts described specifically in this Complaint.

                                           a. Assault and Battery

          71.        The bombing of the U.S.S. Cole was a terrorist act intended to cause a harmful

contact with the person of the sailors aboard the ship, including Rick Harrison, or an imminent

apprehension of such a contact.

          72.        The bombing of the U.S.S. Cole directly and indirectly caused the intended

harmful contact with the person of the sailors aboard, including Rick Harrison, and the imminent

apprehension of such contact.

          73.        As a direct and proximate result of the bombing of the U.S.S. Cole, Rick Harrison

suffered severe and permanent physical injuries. These physical injuries include, but are not

limited to, the following: compression of his ten lower vertebrae; damage to the cartilage in both

of his knees; rupture of the tympanic membrane of both of his ears; a major concussion; and

contusions and abrasions.

          74.        Despite his injuries, Mr. Harrison was not immediately medevaced off the ship.



(10012\00184440.1}                                 17
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 37 of 72
         Case 1:10-cv-01689-RCL Document 1 Red 10/04/10 Page 18 of 46



He remained on board to assist in the fire containment and rescue operations, acting in his

capacity as fire marshal.         While conducting the fire containment and rescue operations, Mr.

Harrison inhaled toxic smoke in a room where electrical wiring was burning. As a result of

inhaling the toxic smoke, Mr. Harrison has developed a lung condition.

          75.        Further, as a result of the foregoing harmful contact and the imminent

apprehension of such contact, Mr. Harrison has also developed severe post-traumatic stress

disorder.

         76.         For his injuries, Mr. Harrison has undergone extensive medical treatment

including, but not limited to, the following: surgery and chiropractic treatment for the injury

sustained to his back; arthroscopic surgery for the injuries sustained to both of his knees; and

psychological treatment for post-traumatic stress disorder.

         77.         Before the attack on the U.S.S. Cole, Mr. Harrison was an able bodied sailor in

the employ of the United States Navy. Despite medical treatment, Mr. Harrison continues to

suffer pain and physical limitation from the injuries he sustained in the attack. The Veteran’s

Administration has deemed him to be totally physically disabled and in need of permanent

chiropractic assistance.

         78.         The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Rick Harrison suffering the physical and psychological

injuries described herein.

                               b. Intentional Infliction of Emotional Distress

         79.         Further, the actions of Defendant Republic of Sudan of providing material support

leading to the bombing of the U.S.S. Cole constitute extreme and outrageous conduct intended to



{10012\00184440 I)                                 18
      Case 1:13-cv-03127-PKC                 Document 1      Filed 05/09/13      Page 38 of 72
           Case 1:10-cv-01689-RCL Document 1                Filed 10/04/10 Page 19 of 46



cause the sailors aboard, including Rick Harrison, to suffer mental anguish, emotional distress,

and pain and suffering.

         80.        These actions by Defendant Republic of Sudan were taken deliberately and

recklessly, with knowledge that they would cause the sailors aboard the U.S.S. Cole, including

Rick Harrison, to suffer severe mental anguish, emotional distress, and pain and suffering.

         81.        The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Rick Harrison suffering severe mental anguish, emotional

distress, and pain and suffering.

         82.        As a direct and proximate result of the bombing of the U.S.S. Cole, Rick Harrison

suffered pain, mental anguish, and emotional distress.          Mr. Harrison’s psychological injuries

stem not only from his own personal physical injuries, but also from witnessing the injuries

caused to his fellow sailors while he remained onboard the ship during rescue and fire

containment operations. Mr. Harrison maintained friendships with several of the sailors killed in

the attack.

         83.        Mr. Harrison has been diagnosed with severe post-traumatic stress disorder and

suffers ongoing mental anguish and distress, as a result of the attack.

                       c. Damages   —   Economic, Pain and Suffering, and Punitive

         84.        Pursuant to 28 U.S.C. § 1605A(c), as a result of its provision of material support,

in the form of funding, direction, training and cover to Al Qaeda, whose operatives facilitated the

planning and execution of the bombing of the U.S.S. Cole, the Defendant Republic of Sudan is

liable for economic damages and damages for pain and suffering caused by the physical and

psychological injuries suffered by Mr. Harrison.



{10012\00184440I}                                  19
          Case 1:13-cv-03127-PKC           Document 1        Filed 05/09/13     Page 39 of 72
             Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 20 of 46



           85.      Pursuant to 28 U.S.C. § 1605A(c), the Republic of Sudan is also liable to Mr.

Harrison for punitive damages for his personal injuries, the proper amount of which shall be later

determined by the Court.

                     COUNT II- STATUTORY PERSONAL INJURY ACTION
                         UNDER 28 US.C. 1605A JOHN BUCKLEY
                                                         -




           86.      Plaintiffs reallege and incorporate herein by reference the allegations of

paragraphs 1 through 65.

           87.      In 2000, John Buckley, in the course of his service in the United States Navy, was

a crew member aboard the U.S.S. Cole wherever its missions and orders directed it.

           88.      On October 12, 2000, during the course of the voyage, and while the vessel was in

Aden Harbor, Yemen, Mr. Buckley was intentionally physically injured by Al Qaeda operatives

supported by the Defendant Republic of Sudan. The Al Qaeda operatives drove a boat laden

with explosives into the side of the vessel and detonated the explosives. The resultant explosion

tore a 40 foot hole in the side of the vessel, causing Mr. Buckley to suffer severe and permanent

physical and psychological injuries.

           89.      The injuries caused to Mr. Buckley aboard the U.S.S. Cole on October 12, 2000,

were intentional and malicious and in willful, wanton and reckless disregard of Mr. Buckley’s

rights.

           90.      Mr. Buckley’s injuries were not caused or contributed to by any negligence on his

part, but were caused solely by the wrongful act, neglect, and default of Defendant, its agents and

employees. In particular, Mr. Buckley’s injuries were caused solely by the Defendant Republic

of Sudan’s wrongful acts described specifically in this Complaint.




{10012\00184440 i                                20
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 40 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 21 of 46



                                          a. Assault and Battery

         91.        The bombing of the U.S.S. Cole was a terrorist act intended to cause a harmful

contact with the person of the sailors aboard the ship, including Mr. Buckley, or an imminent

apprehension of such a contact.

         92.        The bombing of the U.S.S. Cole directly and indirectly caused the intended

harmful contact with the person of the sailors aboard, including Mr. Buckley, and the imminent

apprehension of such contact.

         93.        As a direct and proximate result of the bombing of the U.S.S. Cole, Mr. Buckley

suffered severe and permanent physical injuries. These physical injuries include, but are not

limited to. the following: damage to his lower back; damage to both of his knees.

         94.        Further, as a result of the foregoing harmful contact and the imminent

apprehension of such contact, Mr. Buckley has also developed severe post-traumatic stress

disorder.

         95.        For his injuries, Mr. Buckley has undergone extensive medical treatment

including, but not limited to, the following: surgery, physical therapy and chiropractic treatment

for the injury sustained to his back; surgery on both of his knees; and psychological treatment for

post-traumatic stress disorder.

         96.        Before the attack on the U.S.S. Cole, Mr. Buckley was an able bodied sailor in the

employ of the United States Navy. Despite medical treatment, Mr. Buckley continues to suffer

pain and physical limitation from the injuries he sustained in the attack.             The Veteran’s

Administration has deemed him to be totally physically disabled.

         97.        The actions of Defendant Republic of Sudan did in fact cause the bombing and



{10012\001844401}                                 21
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 41 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 22 of 46



subsequently was the cause in fact of Mr. Buckley suffering the physical and psychological

injuries described herein.

                              b. Intentional Infliction of Emotional Distress

         98.        Further, the actions of Defendant Republic of Sudan of providing material support

leading to the bombing of the U.S.S. Cole constitute extreme and outrageous conduct intended to

cause the sailors aboard, including Mr. Buckley, to suffer mental anguish, emotional distress, and

pain and suffering.

         99.        These actions by Defendant Republic of Sudan were taken deliberately and

recklessly, with knowledge that they would cause the sailors aboard the U.S.S. Cole, including

Mr. Buckley, to suffer severe mental anguish, emotional distress, and pain and suffering.

         100.       The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Mr. Buckley suffering severe mental anguish, emotional

distress, and pain and suffering.

         101.       As a direct and proximate result of the bombing of the U.S.S. Cole, Mr. Buckley

suffered pain, mental anguish, and emotional distress. Mr. Buckley’s psychological injuries stem

not only from his own personal physical injuries, but also from witnessing the injuries caused to

his fellow sailors.

         102.       Mr. Buckley has been diagnosed with severe post-traumatic stress disorder and

suffers ongoing mental anguish and distress, as a result of the attack.

                       c. Damages   —   Economic, Pain and Suffering, and Punitive

         103.       Pursuant to 28 U.S.C. § 1605A(c), as a result of its provision of material support,

in the form of funding, direction, training and cover to Al Qaeda, whose operatives facilitated the



{1OOI2\OO]8444O.I                                  22
      Case 1:13-cv-03127-PKC      Document 1 Filed 05/09/13 Page 42 of 72
           Case 1:10-cv-01689-RCL Document 1 Piled 10/04/10 Page 23 of 46



planning and execution of the bombing of the U.S.S. Cole, the Defendant Republic of Sudan is

liable for economic damages and damages for pain and suffering caused by the physical and

psychological injuries suffered by Mr. Buckley.

          104.      Pursuant to 28 U.S.C. § 1605A(c), the Republic of Sudan is also liable to Mr.

Buckley for punitive damages for his personal injuries, the proper amount of which shall be later

determined by the Court.

                    COUNT III STATUTORY PERSONAL INJURY ACTION
                                 -




                       UNDER 28 US.C. 1605A MARGARET LOPEZ
                                                       -




          105.      Plaintiffs reallege and incorporate herein by reference the allegations of

paragraphs 1 through 65.

          106.      In 2000, Margaret Lopez, in the course of her service in the United States Navy,

was a crew member aboard the U.S.S. Cole wherever its missions and orders directed it.

          107.      On October 12, 2000, during the course of the voyage, and while the vessel was in

Aden Harbor, Yemen, Ms. Lopez was intentionally physically injured by Al Qaeda operatives

supported by the Defendant Republic of Sudan. The Al Qaeda operatives drove a boat laden

with explosives into the side of the vessel and detonated the explosives. The resultant explosion

tore a 40 foot hole in the side of the vessel, causing Ms. Lopez to suffer severe and permanent

physical and psychological injuries.

          108.      The injuries caused to Ms. Lopez aboard the U.S.S. Cole on October 12, 2000,

were intentional and malicious and in willful, wanton and reckless disregard of Ms. Lopez’s

rights.

          109.      Ms. Lopez’s injuries were not caused or contributed to by any negligence on her

part, but were caused solely by the wrongful act, neglect, and default of Defendant, its agents and


{10012\001844401}                                 23
      Case 1:13-cv-03127-PKC               Document 1      Filed 05/09/13      Page 43 of 72
           Case 1:10-cv-01689-RCL Document 1               Filed 10/04/10 Page 24 of 46



employees. In particular, Mr. Lopez’s injuries were caused solely by the Defendant Republic of

Sudan’s wrongful acts described specifically in this Complaint.

                                         a. Assault and Battery

         110.       The bombing of the U.S.S. Cole was a terrorist act intended to cause a harmful

contact with the person of the sailors aboard the ship, including Ms. Lopez, or an imminent

apprehension of such a contact.

         111.       The bombing of the U.S.S. Cole directly and indirectly caused the intended

harmful contact with the person of the sailors aboard, including Ms. Lopez, and the imminent

apprehension of such contact.

         112.       As a direct and proximate result of the bombing of the U.S.S. Cole, Ms. Lopez

suffered severe and permanent physical injuries. These physical injuries include, but are not

limited to, the following: second and third degree burns, resulting in scarring; blunt force trauma;

whiplash; and rupture of the tympanic membrane of both of her ears.

         113.       Further, as a result of the foregoing harmful contact and the imminent

apprehension of such contact, Ms. Lopez has also developed severe migraines and post-traumatic

stress disorder.

         114.       For her injuries, Ms. Lopez has undergone extensive medical treatment for her

physical injuries and psychological treatment for post-traumatic stress disorder.

         115.       Before the attack on the U.S.S. Cole, Ms. Lopez was an able bodied sailor in the

employ of the United States Navy. Despite medical treatment, Ms. Lopez continues to suffer

pain and physical limitation from the injuries she sustained in the attack.           The Veteran’s

Administration has deemed her to be totally physically disabled.



{10012\00184440l}                                24
        Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 44 of 72
          Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 25 of 46



           116.       The actions of Defendant Republic of Sudan did in fact cause the bombing and

 subsequently was the cause in fact of Ms. Lopez suffering the physical and psychological

 injuries described herein.

                                b. Intentional Infliction of Emotional Distress

           117.      Further, the actions of Defendant Republic of Sudan of providing material support

leading to the bombing of the U,S.S. Cole constitute extreme and outrageous conduct intended to

cause the sailors aboard, including Ms. Lopez, to suffer mental anguish, emotional distress, and

pain and suffering.

          118.       These actions by Defendant Republic of Sudan were taken deliberately and

recklessly, with knowledge that they would cause the sailors aboard the U.S.S. Cole, including

Ms. Lopez, to suffer severe mental anguish, emotional distress, and pain and suffering.

          119.       The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Ms. Lopez suffering severe mental anguish, emotional

distress, and pain and suffering.

          120.       As a direct and proximate result of the bombing of the U.S.S. Cole, Ms. Lopez

suffered pain, mental anguish, and emotional distress. Ms. Lopez’s psychological injuries stem

not only from her own personal physical injuries, but also from witnessing the injuries caused to

his fellow sailors.

          121.       Ms. Lopez has been diagnosed with severe post-traumatic stress disorder and

suffers ongoing migraines, mental anguish and distress, as a result of the attack.

                        c. Damages   —   Economic, Pain and Suffering, and Punitive

         122.        Pursuant to 28 U.S.C. § 1605A(c), as a result of its provision of material support,



{10012\00184440.l}                                  25
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 45 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 26 of 46



in the form of funding, direction, training and cover to Al Qaeda, whose operatives facilitated the

planning and execution of the bombing of the U.S.S. Cole, the Defendant Republic of Sudan is

liable for economic damages and damages for pain and suffering caused by the physical and

psychological injuries suffered by Ms. Lopez.

          123.      Pursuant to 28 U.S.C. § 1605A(c), the Republic of Sudan is also liable to Ms.

Lopez for punitive damages for her personal injuries, the proper amount of which shall be later

determined by the Court.

                     COUNT IV STATUTORY PERSONAL INJURY ACTION
                                  -




                         UNDER 28 US.C. 1605A ANDREW LOPEZ

         124.       Plaintiffs reallege and incorporate herein by reference the allegations of

paragraphs 1 through 65.

         125.       In 2000, Andrew Lopez was a sailor in the service of the United States Navy, but

was not stationed aboard the U.S.S. Cole. Mr. Lopez was the spouse of Plaintiff Margaret

Lopez, who was a crew member aboard the U.S.S. Cole.

         126.       On October 12, 2000, during the course of the voyage, and while the vessel was in

Aden Harbor, Yemen, Ms. Lopez was intentionally physically injured by Al Qaeda operatives

supported by the Defendant Republic of Sudan. The Al Qaeda operatives drove a boat laden

with explosives into the side of the vessel and detonated the explosives. The resultant explosion

tore a 40 foot hole in the side of the vessel, causing Ms. Lopez to suffer severe and permanent

physical and psychological injuries.

         127.       Mr. Lopez was aware that the bombing of the U.S.S. Cole had taken place, and

that Ms. Lopez was on board and severely injured in the attack. Mr. Lopez suffered severe

emotional distress and mental anguish, upon learning of the attack on the U.S.S. Cole and the


{10012\00184440 U                                26
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 46 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 27 of 46



injuries to his wife.

          128.       Mr. Lopez’s injuries were not caused or contributed to by any negligence on his

part, but were caused solely by the wrongful act, neglect, and default of Defendant, its agents and

employees. In particular, Mr. Lopez’s injuries were caused solely by the Defendant Republic of

Sudan’s wrongful acts described specifically in this Complaint.

                              a. Intentional Infliction of Emotional Distress

          129.       Further, the actions of Defendant Republic of Sudan of providing material support

leading to the bombing of the U.S.S. Cole constitute extreme and outrageous conduct intended to

cause the family members of the victims of attack, including Mr. Lopez, mental anguish,

emotional distress, and pain and suffering.

          130.       These actions by Defendant Republic of Sudan were taken deliberately and

recklessly, with knowledge that they would cause severe mental anguish, emotional distress, and

pain and suffering on the family members of the victims of the attack.

          131.       Mr. Lopez was aware that the bombing of the U.S.S. Cole had taken place, and

that Margaret Lopez on board was injured in the attack.

         132.        The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Mr. Lopez suffering severe mental anguish, emotional

distress, and pain and suffering.

         133.        Ms. Lopez has been diagnosed with severe post-traumatic stress disorder and

suffers ongoing mental anguish and distress, as a proximate result of the attack. Mr. Lopez has

been designated 40% disabled by the Veteran’s Administration.




{10012\00184440 l}                                27
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 47 of 72
        Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 28 of 46



                                              b. Loss of Solatium

         134.        Because of the psychological injuries suffered by Ms. Lopez, Ms. Lopez’s spouse,

Mr. Lopez, has been deprived of Ms. Lopez’s love, affection, companionship, advice, comfort,

support and services.

         135.        The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Ms. Lopez’s injuries and Mr. Lopez suffering loss of

solatium.

         136.        Mr. Lopez has been damaged for the loss of solatium of his spouse Ms. Lopez, as

a result of the injuries suffered by Ms. Lopez.

                         c. Damages   —   Pain and Suffering, Solatium and Punitive

         137.        Pursuant to 28 U.S.C. § 1605A(c), as a result of its provision of material support,

in the form of funding, direction, training and cover to Al Qaeda, whose operatives facilitated the

planning and execution of the bombing of the U.S.S. Cole, the Defendant Republic of Sudan is

liable for damages for pain and suffering caused by the psychological injuries, and loss of

solatium suffered by Mr. Lopez.

         138.        Pursuant to 28 U.S.C. § 1605A(c), the Republic of Sudan is also liable to Mr.

Lopez for punitive damages for his personal injuries, the proper amount of which shall be later

determined by the Court.

                      COUNT V STATUTORY PERSONAL INJURY ACTION
                                  -




                        UNDER 28 US.C. 1605A ROBERT MCTUREOUS
                                                         -




         139.        Plaintiffs reallege and incorporate herein by reference the allegations of

paragraphs I through 65.

         140.        In 2000, Robert McTureous, in the course of his service in the United States


{10012\00184440 1)                                  28
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 48 of 72
        Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 29 of 46



Navy, was a crew member aboard the U.S.S. Cole wherever its missions and orders directed it.

        141.       On October 12, 2000, during the course of the voyage, and while the vessel was in

Aden Harbor, Yemen, Mr. McTureous was intentionally physically injured by Al Qaeda

operatives supported by the Defendant Republic of Sudan. The Al Qaeda operatives drove a

boat laden with explosives into the side of the vessel and detonated the explosives. The resultant

explosion tore a 40 foot hole in the side of the vessel, causing Mr. McTureous to suffer severe

and permanent physical and psychological injuries.

        142.       The injuries caused to Mr. McTureous aboard the U.S.S. Cole on October 12.

2000, were intentional and malicious and in willful, wanton and reckless disregard of Mr.

McTureous’ rights.

        143.       Mr. McTureous’ injuries were not caused or contributed to by any negligence on

his part, but were caused solely by the wrongful act, neglect, and default of Defendant, its agents

and employees. In particular, Mr. McTureous’ injuries were caused solely by the Defendant

Republic of Sudan’s wrongful acts described specifically in this Complaint.

                                         a. Assault and Battery

        144.       The bombing of the U.S.S. Cole was a terrorist act intended to cause a harmful

contact with the person of the sailors aboard the ship, including Mr. McTureous, or an imminent

apprehension of such a contact.

        145.       The bombing of the U.S.S. Cole directly and indirectly caused the intended

harmful contact with the person of the sailors aboard, including Mr. McTureous, and the

imminent apprehension of such contact.

        146.       As a direct and proximate result of the bombing of the U.S.S. Cole, Mr.



{10012001844401)                                 29
      Case 1:13-cv-03127-PKC               Document 1       Filed 05/09/13      Page 49 of 72
            Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 30 of 46



McTureous suffered severe and permanent physical injuries. These physical injuries include, but

are not limited to, the following: rupture of the tympanic membrane of both of his ears, resulting

in permanent hearing loss and tinnitus; and blunt and penetrating trauma (shrapnel), resulting in

permanent scarring; and second degree burns, resulting in permanent scarring.

         147.        Further, as a result of the foregoing harmful contact and the imminent

apprehension of such contact, Mr. McTureous has also developed severe post-traumatic stress

disorder.

         148.        Before the attack on the U.S.S. Cole, Mr. McTureous was an able bodied sailor in

the employ of the United States Navy. Despite medical treatment, Mr. McTureous continues to

suffer pain and physical limitation from the injuries he sustained in the attack. The Veteran’s

Administration has deemed him to be 70% disabled.

         149.        The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Mr. McTureous suffering the physical and psychological

injuries described herein.

                              b. Intentional Infliction of Emotional Distress

         150.        Further, the actions of Defendant Republic of Sudan of providing material support

leading to the bombing of the U.S.S. Cole constitute extreme and outrageous conduct intended to

cause the sailors aboard, including Mr. McTureous, to suffer mental anguish, emotional distress,

and pain and suffering.

         151.        These actions by Defendant Republic of Sudan were taken deliberately and

recklessly, with knowledge that they would cause the sailors aboard the U.S.S. Cole, including

Mr. McTureous, to suffer severe mental anguish, emotional distress, and pain and suffering.



{10012\00184440.l)                                 30
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 50 of 72
        Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 31 of 46



         152.       The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Mr. McTureous suffering severe mental anguish, emotional

distress, and pain and suffering.

         153.       As a direct and proximate result of the bombing of the U.S.S. Cole, Mr.

McTureous suffered pain, mental anguish, and emotional distress.                     Mr. McTureous’

psychological injuries stem not only from his own personal physical injuries, but also from

witnessing the injuries caused to his fellow sailors.

         1 54.      Mr. McTureous has been diagnosed with severe post-traumatic stress disorder and

suffers ongoing mental anguish and distress, as a result of the attack.

                       c. Damages   —   Economic, Pain and Suffering, and Punitive

         155.       Pursuant to 28 U.S.C. § 1605A(c), as a result of its provision of material support,

in the form of funding, direction, training and cover to Al Qaeda, whose operatives facilitated the

planning and execution of the bombing of the U.S.S. Cole, the Defendant Republic of Sudan is

liable for economic damages and damages for pain and suffering caused by the physical and

psychological injuries suffered by Mr. McTureous.

         156.       Pursuant to 28 U.S.C. § 1605A(c), the Republic of Sudan is also liable to Mr.

McTureous for punitive damages for his personal injuries, the proper amount of which shall be

later determined by the Court.

                     COUNT VI- STATUTORY PERSONAL INJURY ACTION
                         UNDER 28 US.C. 1605A DAVID MORALES
                                                         -




         157.       Plaintiffs reallege and incorporate herein by reference the allegations of

paragraphs 1 through 65.

         158.       In 2000, David Morales, in the course of his service in the United States Navy,


{10012\001844401}                                  31
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 51 of 72
        Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 32 of 46



was a crew member aboard the U.S.S. Cole wherever its missions and orders directed it.

          159.       On October 12, 2000, during the course of the voyage, and while the vessel was in

Aden Harbor, Yemen, Mr. Morales was intentionally physically injured by Al Qaeda operatives

supported by the Defendant Republic of Sudan. The Al Qaeda operatives drove a boat laden

with explosives into the side of the vessel and detonated the explosives. The resultant explosion

tore a 40 foot hole in the side of the vessel, causing Mr. Morales to suffer severe and permanent

physical and psychological inj uries.

          160.       The injuries caused to Mr. Morales aboard the U.S.S. Cole on October 12, 2000,

were intentional and malicious and in willful, wanton and reckless disregard of Mr. Morales’

rights.

          161.       Mr. Morales’ injuries were not caused or contributed to by any negligence on his

part, but were caused solely by the wrongful act, neglect, and default of Defendant, its agents and

employees. In particular, Mr. Morales’ injuries were caused solely by the Defendant Republic of

Sudan’s wrongful acts described specifically in this Complaint.

                                           a. Assault and Battery

          162.       The bombing of the U.S.S. Cole was a terrorist act intended to cause a harmful

contact with the person of the sailors aboard the ship, including Mr. Morales, or an imminent

apprehension of such a contact.

          163.       The bombing of the U.S.S. Cole directly and indirectly caused the intended

harmful contact with the person of the sailors aboard, including Mr. Morales, and the imminent

apprehension of such contact.

          164.       As a direct and proximate result of the bombing of the U.S.S. Cole, Mr. Morales



{10012\00184440 I)                                 32
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 52 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 33 of 46



suffered severe and permanent physical injuries. These physical injuries include, but are not

limited to, the following: severe whiplash resulting in the development of degenerative disk

disease and chronic neck spasms; blunt and penetrating trauma to his face.

          165.       Further, as a result of the foregoing harmful contact and the imminent

apprehension of such contact, Mr. Morales has also developed severe post-traumatic stress

disorder.

          166.       For his injuries, Mr. Morales has undergone extensive medical treatment for his

injuries; and psychological treatment for post-traumatic stress disorder.

          167.       Before the attack on the U.S.S. Cole, Mr. Morales was an able bodied sailor in the

employ of the United States Navy. Despite medical treatment, Mr. Morales continues to suffer

pain and physical limitation from the injuries he sustained in the attack.              The Veteran’s

Administration has deemed him to be 30% disabled.

          168.       The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Mr. Morales suffering the physical and psychological

injuries described herein.

                              b. Intentional Infliction of Emotional Distress

          169.       Further, the actions of Defendant Republic of Sudan of providing material support

leading to the bombing of the U.S.S. Cole constitute extreme and outrageous conduct intended to

cause the sailors aboard, including Mr. Morales, to suffer mental anguish, emotional distress, and

pain and suffering.

         170.        These actions by Defendant Republic of Sudan were taken deliberately and

recklessly, with knowledge that they would cause the sailors aboard the U.S.S. Cole, including



{10012\00184440 I}                                 33
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 53 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 34 of 46



Mr. Morales, to suffer severe mental anguish, emotional distress, and pain and suffering.

         171.        The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Mr. Morales suffering severe mental anguish, emotional

distress, and pain and suffering.

         172.        As a direct and proximate result of the bombing of the U.S.S. Cole, Mr. Morales

suffered pain, mental anguish, and emotional distress. Mr. Morales’ psychological injuries stem

not only from his own personal physical injuries, but also from witnessing the injuries caused to

his fellow sailors.

         173.        Mr. Morales has been diagnosed with severe post-traumatic stress disorder and

suffers ongoing mental anguish and distress, as a result of the attack.

                        c. Damages   —   Economic, Pain and Suffering, and Punitive

         174.        Pursuant to 28 U.S.C. § 1605A(c), as a result of its provision of material support,

in the form of funding, direction, training and cover to Al Qaeda, whose operatives facilitated the

planning and execution of the bombing of the U.S.S. Cole, the Defendant Republic of Sudan is

liable for economic damages and damages for pain and suffering caused by the physical and

psychological injuries suffered by Mr. Morales.

         175.        Pursuant to 28 U.S.C. § 1605A(c), the Republic of Sudan is also liable to Mr.

Morales for punitive damages for his personal injuries, the proper amount of which shall be later

determined by the Court.

                     COUNT VII- STATUTORY PERSONAL INJURY ACTION
                          UNDER 28 US.C. 1605A GINA MORRIS -




         176.        Plaintiffs reallege arid incorporate herein by reference the allegations of

paragraphs I through 65.


{10012\00184440 1}                                  34
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 54 of 72
        Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 35 of 46



          177.      In 2000, Gina Morris, in the course of her service in the United States Navy, was

a crew member aboard the U.S.S. Cole wherever its missions and orders directed it.

          178.      On October 12, 2000, during the course of the voyage, and while the vessel was in

Aden Harbor, Yemen, Ms. Morris was intentionally psychologically injured by Al Qaeda

operatives supported by the Defendant Republic of Sudan. The Al Qaeda operatives drove a

boat laden with explosives into the side of the vessel and detonated the explosives. The resultant

explosion tore a 40 foot hole in the side of the vessel, causing Ms. Morris to suffer severe and

permanent psychological injury.

          179.      The injuries caused to Ms. Morris aboard the U.S.S. Cole on October 12, 2000,

were intentional and malicious and in willful, wanton and reckless disregard of Ms. Morris’s

rights.

          180.      Ms. Morris’ injuries were not caused or contributed to by any negligence on her

part, but were caused solely by the wrongful act, neglect, and default of Defendant, its agents and

employees. In particular, Ms. Morris’s injuries were caused solely by the Defendant Republic of

Sudan’s wrongful acts described specifically in this Complaint.

                                                a. Assault

          181.      The bombing of the U.S.S. Cole was a terrorist act intended to cause a harmful

contact with the person of the sailors aboard the ship, including Ms. Morris, or an imminent

apprehension of such a contact.

          182.      The bombing of the U.S.S. Cole directly and indirectly caused the intended

harmful contact with the person of the sailors aboard and Ms. Morris to have the imminent

apprehension of such contact.



{10012\001844401}                                35
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 55 of 72
        Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 36 of 46



          183.       As a direct and proximate result of the bombing of the U.S.S. Cole, Ms. Morris

suffered severe and permanent psychological injuries. As a result of the foregoing imminent

apprehension of harmful contact, Ms. Morris has developed severe post-traumatic stress disorder.

          184.       Before the attack on the U.S.S. Cole, Ms. Morris was an able bodied sailor in the

employ of the United States Navy. Ms. Morris continues to suffer psychological limitation from

the injuries she sustained in the attack.

          185.       The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Ms. Morris suffering the psychological injuries described

herein.

                               b. Intentional Infliction of Emotional Distress

          186.       Further, the actions of Defendant Republic of Sudan of providing material support

leading to the bombing of the U.S.S. Cole constitute extreme and outrageous conduct intended to

cause the sailors aboard, including Ms. Morris, to suffer mental anguish, emotional distress, and

pain and suffering.

          187.       These actions by Defendant Republic of Sudan were taken deliberately and

recklessly, with knowledge that they would cause the sailors aboard the U.S.S. Cole, including

Ms. Morris, to suffer severe mental anguish, emotional distress, and pain and suffering.

          188.       The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Ms. Morris suffering severe mental anguish, emotional

distress, and pain and suffering.

          189.       As a direct and proximate result of the bombing of the U.S.S. Cole, Ms. Morris

suffered pain, mental anguish, and emotional distress.          Ms. Morris has been diagnosed with



{10012\00184440.1}                                 36
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 56 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 37 of 46



severe post-traumatic stress disorder and suffers ongoing mental anguish and distress, as a result

of the attack.

                        c. Damages   —   Economic, Pain and Suffering, and Punitive

          190.       Pursuant to 28 U.S.C. § 1605A(c), as a result of its provision of material support,

in the form of funding, direction, training and cover to Al Qaeda, whose operatives facilitated the

planning and execution of the bombing of the U.S.S. Cole, the Defendant Republic of Sudan is

liable for economic damages and damages for pain and suffering caused by the physical and

psychological injuries suffered by Ms. Morris.

         191.        Pursuant to 28 U.S.C. § 1605A(c), the Republic of Sudan is also liable to Ms.

Morris for punitive damages for her personal injuries, the proper amount of which shall be later

determined by the Court.

                     COUNT VIII STATUTORY PERSONAL INJURY ACTION
                                    -




                        UNDER 28 US.C. 1605A MARTIN SONGER, JR.
                                                         -




         192.        Plaintiffs reallege and incorporate herein by reference the allegations of

paragraphs I through 65.

         193.        In 2000, Martin Songer, Jr., in the course of his service in the United States Navy,

was a crew member aboard the U.S.S. Cole wherever its missions and orders directed it.

         194.        On October 12, 2000, during the course of the voyage, and while the vessel was in

Aden Harbor, Yemen, Mr. Songer was intentionally physically injured by Al Qaeda operatives

supported by the Defendant Republic of Sudan. The Al Qaeda operatives drove a boat laden

with explosives into the side of the vessel and detonated the explosives. The resultant explosion

tore a 40 foot hole in the side of the vessel, causing Mr. Songer to suffer physical injury and

severe and permanent psychological injury.


{10012\00184440 I)                                  37
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 57 of 72
        Case 1:10-cv-01689-RCL Document 1 FHed 10/04/10 Page 38 of 46



          195.     The injuries caused to Mr. Songer aboard the U.S.S. Cole on October 12, 2000,

were intentional and malicious and in willful, wanton and reckless disregard of Mr. Songer’s

rights.

          196.     Mr. Songer’s injuries were not caused or contributed to by any negligence on his

part, but were caused solely by the wrongful act, neglect, and default of Defendant, its agents and

employees. In particular, Mr. Songer’s injuries were caused solely by the Defendant Republic of

Sudan’s wrongful acts described specifically in this Complaint.

                                        a. Assault and Battery

          197.     The bombing of the U.S.S. Cole was a terrorist act intended to cause a harmful

contact with the person of the sailors aboard the ship, including Mr. Songer, or an imminent

apprehension of such a contact.

          198.     The bombing of the U.S.S. Cole directly and indirectly caused the intended

harmful contact with the person of the sailors aboard, including Mr. Songer, and the imminent

apprehension of such contact.

          199.     As a direct and proximate result of the bombing of the U.S.S. Cole, Mr. Songer

suffered severe and permanent physical injuries. These physical injuries include, but are not

limited to, the following: blunt force trauma resulting in swelling and contusions.

          200.     Further, as a result of the foregoing harmful contact and the imminent

apprehension of such contact, Mr. Songer has also developed severe post-traumatic stress

disorder.

          201.     Before the attack on the U.S.S. Cole, Mr. Songer was an able bodied sailor in the

employ of the United States Navy. Mr. Songer continues to suffer psychological limitation from



1OO12\OOI8444O i                                 38
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 58 of 72
         Case 1:10-cv-01689-RCL Document 1 FHed 10/04/10 Page 39 of 46



the injuries he sustained in the attack.

         202.        The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Mr. Songer suffering the physical and psychological

injuries described herein.

                               b. Intentional Infliction of Emotional Distress

         203.        Further, the actions of Defendant Republic of Sudan of providing material support

leading to the bombing of the U.S.S. Cole constitute extreme and outrageous conduct intended to

cause the sailors aboard, including Mr. Songer, to suffer mental anguish, emotional distress, and

pain and suffering.

         204.        These actions by Defendant Republic of Sudan were taken deliberately and

recklessly, with knowledge that they would cause the sailors aboard the U.S.S. Cole, including

Mr. Songer, to suffer severe mental anguish, emotional distress, and pain and suffering.

         205.        The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Mr. Songer suffering severe mental anguish, emotional

distress, and pain and suffering.

         206.        As a direct and proximate result of the bombing of the U.S.S. Cole, Mr. Songer

suffered pain, mental anguish, and emotional distress. Mr. Songer’s psychological injuries stem

not only from his own personal physical injuries, but also from witnessing the injuries caused to

his fellow sailors.

         207.        Mr. Songer has severe post-traumatic stress disorder and suffers ongoing mental

anguish and distress, as a result of the attack.




{10012\00184440 1)                                 39
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 59 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 40 of 46



                       c. Damages     —   Economic, Pain and Suffering, and Punitive

         208.       Pursuant to 28 U.S.C. § 1605A(c), as a result of its provision of material support,

in the form of funding, direction, training and cover to Al Qaeda, whose operatives facilitated the

planning and execution of the bombing of the U.S.S. Cole, the Defendant Republic of Sudan is

liable for economic damages and damages for pain and suffering caused by the physical and

psychological injuries suffered by Mr. Songer.

         209.       Pursuant to 28 U.S.C. § 1605A(c), the Republic of Sudan is also liable to Mr.

Songer for punitive damages for his personal injuries, the proper amount of which shall be later

determined by the Court.

                     COUNT IX STATUTORY PERSONAL INJURY ACTION
                                  -




                        UNDER 28 US.C. 1605A SHELLY SONGER-




         210.       Plaintiffs reallege and incorporate herein by reference the allegations of

paragraphs I through 65.

         211.       In 2000, Shelly Songer was the spouse of Plaintiff Martin Songer, Jr., who was a

sailor in the service of the United States Navy and a crew member aboard the U.S.S. Cole.

         212.       On October 12, 2000, during the course of the voyage, and while the vessel was in

Aden Harbor, Yemen, Mr. Songer was intentionally physically and psychologically injured by

Al Qaeda operatives supported by the Defendant Republic of Sudan. The Al Qaeda operatives

drove a boat laden with explosives into the side of the vessel and detonated the explosives. The

resultant explosion tore a 40 foot hole in the side of the vessel, causing Mr. Songer to suffer

severe and permanent psychological injuries.

         213.       Ms. Songer was aware that the bombing of the U.S.S. Cole had taken place, and

that Mr. Songer was on board.               Ms. Songer suffered severe emotional distress and mental


{10012\00184440l}                                    40
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 60 of 72
        Case 1:10cv-01689-RCL Document 1 Filed 10/04/10 Page 41 of 46



anguish, upon learning of the attack on the U.S.S. Cole.

         214.       Ms. Songer’s injuries were not caused or contributed to by any negligence on her

part, but were caused solely by the wrongful act, neglect, and default of Defendant, its agents and

employees. In particular, Ms. Songer’s injuries were caused solely by the Defendant Republic of

Sudan’s wrongful acts described specifically in this Complaint.

                              a. Intentional Infliction of Emotional Distress

         215.       Further, the actions of Defendant Republic of Sudan of providing material support

leading to the bombing of the U.S.S. Cole constitute extreme and outrageous conduct intended to

cause the family members of the victims of attack, including Ms. Songer, mental anguish,

emotional distress, and pain and suffering.

        216.        These actions by Defendant Republic of Sudan were taken deliberately and

recklessly, with knowledge that they would cause severe mental anguish, emotional distress, and

pain and suffering to the family members of the victims of the attack.

        217.        Ms. Songer was aware that the bombing of the U.S.S. Cole had taken place, and

that Mr. Songer was on board the ship at the time of the attack.

        218.        The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Ms. Songer suffering severe mental anguish, emotional

distress, and pain and suffering.

                                           b. Loss of Solatium

        219.        Because of the psychological injuries suffered by Mr. Songer, Ms. Songer’s

spouse, Ms. Songer, has been deprived of Mr. Songer’s love, affection, companionship, advice,

comfort, support and services.



{10012\00184440I}                                 41
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 61 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 42 of 46



         220.       The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Mr. Songer’s injuries and Ms. Songer suffering loss of

solatium.

        221.        Ms. Songer has been damaged for the loss of solatium of her spouse Mr. Songer,

as a result of the injuries suffered by Mr. Songer.

                        c. Damages   —   Pain and Suffering, Solatium and Punitive

        222.        Pursuant to 28 U.S.C. § I 605A(c), as a result of its provision of material support,

in the form of funding, direction, training and cover to Al Qaeda, whose operatives facilitated the

planning and execution of the bombing of the U.S.S. Cole, the Defendant Republic of Sudan is

liable for damages for pain and suffering caused by the psychological injuries, and loss of

solatium suffered by Ms. Songer.

        223.        Pursuant to 28 U.S.C. § 1605A(c), the Republic of Sudan is also liable to Ms.

Songer for punitive damages for her injuries, the proper amount of which shall be later

determined by the Court.

                     COUNT X STATUTORY PERSONAL INJURY ACTION
                                 -




                         UNDER 28 US.C. 1605A KESHA STIDHAM
                                                         -




        224.        Plaintiffs reallege and incorporate herein by reference the allegations of

paragraphs 1 through 65.

        225.        In 2000, Kesha Stidham, in the course of her service in the United States Navy,

was a crew member aboard the U.S.S. Cole wherever its missions and orders directed it.

        226.        On October 12, 2000, during the course of the voyage, and while the vessel was in

Aden Harbor, Yemen, Ms. Stidham was intentionally physically injured by Al Qaeda operatives

supported by the Defendant Republic of Sudan. The Al Qaeda operatives drove a boat laden


{10012\001844401}                                  42
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 62 of 72
        Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 43 of 46



with explosives into the side of the vessel and detonated the explosives. The resultant explosion

tore a 40 foot hole in the side of the vessel, causing Ms. Stidham to suffer severe and permanent

physical and psychological injuries.

          227.       The injuries caused to Ms. Stidham aboard the U.S.S. Cole on October 12, 2000,

were intentional and malicious and in willful, wanton and reckless disregard of Ms. Stidham’s

rights.

          228.       Ms. Stidham’s injuries were not caused or contributed to by any negligence on her

part, but were caused solely by the wrongful act, neglect, and default of Defendant, its agents and

employees. In particular, Ms. Stidham’s injuries were caused solely by the Defendant Republic

of Sudan’s wrongful acts described specifically in this Complaint.

                                           a. Assault and Battery

          229.       The bombing of the U.S.S. Cole was a terrorist act intended to cause a harmful

contact with the person of the sailors aboard the ship, including Ms. Stidham, or an imminent

apprehension of such a contact.

          230.       The bombing of the U.S.S. Cole directly and indirectly caused the intended

harmful contact with the person of the sailors aboard, including Ms. Stidham, and the imminent

apprehension of such contact.

          231.       As a direct and proximate result of the bombing of the U.S.S. Cole, Ms. Stidham

suffered severe and permanent physical injuries. These physical injuries include, but are not

limited to, the following: blunt and penetrating trauma to her face, resulting in permanent

scarring; rupture of the tympanic membrane of both of her ears, resulting in permanent hearing

loss; and broken ribs.



{10012\00184440 I}                                 43
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 63 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 44 of 46



        232.       Further, as a result of the foregoing harmful contact and the imminent

apprehension of such contact, Ms. Stidham has also developed severe post-traumatic stress

disorder.

        233.       For her injuries, Ms. Stidham has undergone extensive medical treatment for her

injuries; and psychological treatment for post-traumatic stress disorder.

        234.       Before the attack on the U.S.S. Cole, Ms. Stidham was an able bodied sailor in the

employ of the United States Navy. Despite medical treatment, Ms. Stidham continues to suffer

pain and physical limitation from the injuries she sustained in the attack. As a result of her

condition, Ms. Stidham has not worked in two years.

        235.       The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Ms. Stidham suffering the physical and psychological

injuries described herein.

                             b. Intentional Infliction of Emotional Distress

        236.       Further, the actions of Defendant Republic of Sudan of providing material support

leading to the bombing of the U.S.S. Cole constitute extreme and outrageous conduct intended to

cause the sailors aboard, including Ms. Stidham, to suffer mental anguish, emotional distress,

and pain and suffering.

        237.       These actions by Defendant Republic of Sudan were taken deliberately and

recklessly, with knowledge that they would cause the sailors aboard the U.S.S. Cole, including

Ms. Stidham, to suffer severe mental anguish, emotional distress, and pain and suffering.

        238.       The actions of Defendant Republic of Sudan did in fact cause the bombing and

subsequently was the cause in fact of Ms. Stidham suffering severe mental anguish, emotional



{IOOi2\OO18444OI                                 44
      Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 64 of 72
        Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 45 of 46



distress, and pain and suffering.

        239.       As a direct and proximate result of the bombing of the U.S.S. Cole, Ms. Stidham

suffered pain, mental anguish, and emotional distress.         Ms. Stidham’s psychological injuries

stem not only from her own personal physical injuries, but also from witnessing the injuries

caused to her fellow sailors.

        240.       Ms. Stidham has been diagnosed with severe post-traumatic stress disorder and

suffers ongoing mental anguish and distress, as a result of the attack.

                      c. Damages   —   Economic, Pain and Suffering, and Punitive

        241.       Pursuant to 28 U.S.C. § I 605A(c), as a result of its provision of material support,

in the form of funding, direction, training and cover to Al Qaeda, whose operatives facilitated the

planning and execution of the bombing of the U.S.S. Cole, the Defendant Republic of Sudan is

liable for economic damages and damages for pain and suffering caused by the physical and

psychological injuries suffered by Ms. Stidham.

        242.       Pursuant to 28 U.S.C. § 1605A(c), the Republic of Sudan is also liable to Ms.

Stidham for punitive damages for her personal injuries, the proper amount of which shall be later

determined by the Court.

                                         PRAYER FOR RELIEF

        WHEREFORE, PLAINTIFFS respectfully request the following relief:

        1.         Economic damages against Defendant Republic of Sudan for their physical and

psychological injuries;

        2.         Damages for pain and suffering against Defendant Republic of Sudan for their

psychological trauma, mental anguish, and emotional distress;



OOi2\OO18444O 1}                                  45
       Case 1:13-cv-03127-PKC Document 1 Filed 05/09/13 Page 65 of 72
         Case 1:10-cv-01689-RCL Document 1 Filed 10/04/10 Page 46 of 46



         2.           Damages for loss of consortium against Defendant Republic of Sudan for

Plaintiffs Andrew Lopez and Shelly Songer, as a result of the deprivation of their spouse’s love,

affection, companionship, advice, comfort, support and services;

         3.           Punitive damages against Defendant Republic of Sudan in an appropriate amount

to be determined at trial;

         5.           Costs of this suit, including reasonable attorney’s fees set by the Court; and any

further relief which the Court deems just and proper.

                                                           Respectfully submitted,

                                                           NELSON M. JONES, III
                                                           D.C. Bar # 320266
                                                           440 Louisiana St., Suite 1575
                                                           Houston, Texas 77002
                                                           Tel: (713) 236-8736
                                                           Fax: (713) 278-0490
                                                           Email: njonesiii@aol.com

ANDREW C. HALL*                                            JAMES COOPERHILL*
Florida Bar # 111480                                       Texas Bar # 04789300
2665 S. Bayshore Dr., PH 1                                 320 Olympic Dr.
Miami, Florida 33133                                       Rockport, Texas 78382
Tel: (305) 374-5030                                        Tel: (361) 729-3923
Fax: (305) 374-5033                                        Fax: (361) 727-0447
Email: andyhall@hlhlawfirrn.com                            Email: corpus1aw(aol.com

Attorneys for Plaintiffs
(* pro hac vice admission pending)




 {10012\00184440 I}                                 46
Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13   Page 66 of 72




                         a iiam.xi
      Case 1:13-cv-03127-PKC
         Case  1:10-cv-01689-RCLDocument
                                 Document1 40 Filed
                                               FHed05/09/13  Page 167
                                                    03/30/12 Page   of of
                                                                        2
                                                                          72


                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

   RICK HARRISON, et al.,

                          Plaintiffs,

                         V.
                                                             Civil Action 10-1689 (RCL)
   REPUBLIC OF SUDAN,

                          Defendant.



                                  ORDER AND JUDGMENT

In accordance with the Memorandum Opinion issued this day, it is hereby

       ORDERED that final judgment is entered in favor of plaintiffs and against defendant;

       ORDERED that plaintiffs are awarded $78,676,474 in compensatory damages and

$236,029,422 in punitive damages, for a total award of $314,705,896 to be distributed as follows:

                        Economic        Pain and      Solatium         Punitive         Total
                                        Suffering

    Aaron Toney               196,040    1,500,000              0        5,088,120      6,784,160
    Carl Wingate              198,365    5,000,000              0       15,595,095     20,793,460
    David Morales             248,108    2,000,000              0        6,744,324      8,992,432
    Edward Love               279,613    2,000,000              0        6,838,839      9,118,452
    Eric Williams             553,253    3,000,000              0       10,659,759     14,213,012
    Gina Morris               562,577    1,500,000              0        6,187,731      8,250,308
    Jeremy Stewart            515,627    7,500,000              0       24,046,881     32,062,508
    Kesha Stidham             873,104    5,000,000              0       17,619,312     23,492,416
    Margaret Lopez             52,594    7,500,000              0       22,657,782     30,210,376
    Martin Songer             509,174    2,000,000              0        7,527,522     10,036,696
    RickHarrison              286,083    5,000,000              0       15,858,249     21,144,332
    Robert McTureous          901,936    5,000,000              0       17,705,808     23,607,744
    John Buckley III                0    7,500,000              0       22,500,000     30,000,000
    Keith Lorenson                  0    5,000,000              0       15,000,000     20,000,000
    Rubin Smith                     0    5,000,000              0       15,000,000     20,000,000
    Shelly Songer                   0            0      1,000,000        3,000,000      4,000,000
    Lisa Lorenson                   0            0      4,000,000       12,000,000     16,000,000
    Andy Lopez                      0            0      4,000,000       12,000,000     16,000,000
      CaseCase
           1:13-cv-03127-PKC
               1:10-cv-01689-RCLDocument
                                 Document1 40 Filed 05/09/13 Page 68 of 72
                                                FIed 03/30/12 Page 2 of 2


and it is further

        ORDERED that plaintiffs shall, at their own cost and consistent with the requirements of

28 U.S.C. § 1608(e), send a copy of this Order and Judgment, and the Memorandum Opinion

issued this date, to defendants.

SO ORDERED.



                               Signed by Royce C. Lamberth, Chief Judge, on March 30, 2012.
Case 1:13-cv-03127-PKC   Document 1   Filed 05/09/13   Page 69 of 72




                         iIamxL
                   Case 1:13-cv-03127-PKC                          Document 1                Filed 05/09/13          Page 70 of 72

                                                                                     Another District
AO 451 (Rev. 01/09; DC 4/10) Clerk’s Certification of a Judgment to be Registered in


                                          UNITED STATES DIsTRIcT COURT                                                        r.



                                                                            forthe                      :‘
                                                                                                                                                &s.

                                                                   District of Columbia                 .        ‘‘




                      RICK HARRISON et aI
                              Plaintiff                                         )
                                 V.                                             )           Civil Action No. 10cv1689-RCL
                      REPUBLIC OF SUDAN
                             Defendant


                                                                                                                  ANOTHER DISTRICT
          CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN


                                                                                                            court on (date)        03/30/2012
            [certify that the attached judgment is a copy of a judgment entered by this
                                                                                      in Fed. R. App. P. 4(a)(4)(A) is pending
         I also certify that, as appears from this courts records, no motion listed
                                                                           that it is no longer pending.
 before this court and that no appeal has been filed or, if one was filed,


  Date:            07/16/2012
                                                                                             ANGELA D. CAESAR, CLERK OF COURT



                                                                                                                   of Jtr Deputy Clerk
          L,cte 1. .iu—I,v—uiuo—r..i...    LJ,uI I CI It.   q_,    I   IIt_   .JsJI sJ’Jj .L   I     3.

       Case 1:13-cv-03127-PKC             Document 1              Filed 05/09/13               Page 71 of 72

                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

   RICK HARRISON, et al.,

                         Plaintiffs,

                        V.
                                                                         Civil Action 10-1689 (RCL)
   REPUBLIC OF SUDAN,

                         Defendant.



                                  ORDER AND JUDGMENT

In accordance with the Memorandum Opinion issued this day, it is hereby

       ORDERED that final judgment is entered in favor of plaintiffs and against defendant;

       ORDERED that plaintiffs are awarded $78,676,474 in compensatory damages and

$236,029,422 in punitive damages, for a total award of $314,705,896 to be distributed as follows:

                        Economic          Pain and            Solatium                   Punitive          Total
                                          Suffering

    Aaron Toney              196,040        1,500,000                      0                5,088,120      6,784,160
    Carl Wingate             198,365        5,000,000                      0               15,595,095     20,793,460
    David Morales            248,108        2,000,000                      0                6,744,324       8,992,432
    Edward Love              279,613        2,000,000                      0                6,838,839       9,118,452
    Eric Williams            553,253        3,000,000                      0               10,659,759     14,213,012
    Gina Morris              562,577        1,500,000                      0                6,187,731       8,250,308
    Jeremy Stewart           515,627        7,500,000                      0               24,046,881     32,062,508
    KeshaStidham             873,104        5,000,000                      0               17,619,312     23,492,416
    Margaret Lopez            52,594        7,500,000                      0               22,657,782     30,210,376
    Martin Songer            509,174        2,000,000                      0                7,527,522     10,036,696
    Rick Harrison            286,083        5,000,000                      0               15,858,249     21,144,332
    Robert McTureous         901,936        5,000,000                      0               17,705,808     23,607,744
    John Buckley III               0        7,500,000                      0               22,500,000     30,000,000
    Keith Lorenson                 0        5,000,000                      0               15,000,000     20,000,000
    Rubin Smith                    0        5,000,000                      0               15,000,000     20,000,000
    Shelly Songer                   0               0              1,000,000                3,000,000       4,000,000
    Lisa Lorenson                   0               0              4,000,000               12,000,000      16,000,000
    Andy Lopez                      0               0              4,000,000               12,000,000      16,000,000
          ease i:iU-cv-Uib-K           LL    uocumern 4U    i-iieu uiui               ryt
        Case 1:13-cv-03127-PKC              Document 1     Filed 05/09/13           Page 72 of 72


and it is further

        ORDERED that plaintiffs shall, at their own cost and consistent with the requirements of

28 U.S.C. § 1608(e), send a copy of this Order and Judgment, and the Memorandum Opinion

issued this date, to defendants.

SO ORDERED.



                                   Signed by Royce C. Lamberth, Chief Judge, on March 30, 2012.




                                                                                     Lr
                                                                              ) CC U ME NT
                                                           I hereby attest and certify that this is a printed copy of a
                                                           document which was electronically flied with the United
                                                           States District and Bankruptcy Courts for the District of
                                                            DteRled3Q                           /
                                                            By:__
